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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

FRANK THOMPSON, et al.                      )
                                            )
              Plaintiffs,                   )
                                            )
       v.                                   )      No. 1:24-cv-00001-JAW
                                            )
PATRICK KELIHER, in his official            )
capacity as COMMISIONER,                    )
MAINE DEPARTMENT OF                         )
MARINE RESOURCES,                           )
                                            )
              Defendant.                    )


    ORDER ON MOTION TO DISMISS AND MOTION FOR PRELIMINARY
                         INJUNCTION
       Maine lobstermen brought suit against the commissioner of the Maine

Department of Marine Resources, seeking to enjoin the enforcement of a rule issued

by the department that compels federally licensed lobstermen to install a tracking

device on their fishing vessels. 1 The lobstermen challenge the rule under Maine’s

Administrative Procedure Act and on federal and state constitutional grounds as a

violation of their right to be free from unreasonable searches and seizures and right

to equal protection under the law. The defendant moves to dismiss the case for failure

to state a claim and for lack of subject matter jurisdiction. The lobstermen seek a

preliminary injunction, which the defendant also opposes. The court dismisses the

plaintiffs’ claim under the Maine Administrative Procedure Act for lack of subject

matter jurisdiction and dismisses the Fourth Amendment and equal protection


1      Throughout this order, the Court uses “lobstermen” as a gender-neutral term. See Maine
Lobster Community Alliance, A Lobsterman is a Lobsterman, Regardless of Gender (Jul. 7, 2023), A
Lobsterman is a Lobsterman, Regardless of Gender (mlcalliance.org).
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claims for failure to state a claim on which relief can be granted. Although the court

grants the motion to dismiss the Fourth Amendment claim pursuant to Supreme

Court and First Circuit caselaw on administrative searches, this case raises

significant Fourth Amendment issues, and the court encourages the lobstermen to

appeal this decision to the Court of Appeals for the First Circuit for an authoritative

ruling.

      Having granted the defendant’s motion to dismiss, the court dismisses the

motion for preliminary injunction as moot.

I.    PROCEDURAL HISTORY

      On January 2, 2024, Frank Thompson, Joel Strout, Jason Lord, Christopher

Smith, and Jack Cunningham (collectively, the Plaintiffs) filed a facial complaint

against Patrick Keliher, in his official capacity as Commissioner of the Maine

Department of Marine Resources (MDMR), seeking declaratory and injunctive relief

against a rule issued by the MDMR that requires federally permitted lobstermen to

install an electronic tracking device on their fishing vessels. Compl. for Declaratory

and Injunctive Relief (ECF No. 1) (Compl.).

      On January 12, 2024, the Plaintiffs filed a motion for preliminary injunction.

Pls.’ Mot. for Prelim. Inj. (ECF No. 7). On March 1, 2024, Commissioner Keliher

responded in opposition to the motion for preliminary injunction. Def.’s Opp’n to Mot.

for Prelim. Inj. (ECF No. 16). That same day, the Atlantic States Marine Fisheries

Commission (ASMFC), as amicus curiae, also opposed injunctive relief.          Amicus

Curiae Atl. States Marine Fisheries Comm’n’s Mem. in Opp’n to Pls.’ Mot. for Prelim.



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Inj. (ECF No. 15). On March 12, 2024, the Plaintiffs replied. Pls.’ Reply to Opp’n to

Mot. for Prelim. Inj. (ECF No. 17).

       On April 8, 2024, Commissioner Keliher moved to dismiss the case pursuant

to Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter jurisdiction and

Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim. Def.’s Mot. to

Dismiss (ECF No. 23) (Mot. to Dismiss). That same day, ASMFC filed an amicus

curiae memorandum in support of Commissioner Keliher’s motion to dismiss. Amicus

Curiae Atl. States Marine Fisheries Comm’n’s Mem. in Support of Def.’s Mot. to

Dismiss (ECF No. 22) (Amicus Mem. in Support of Mot. to Dismiss). On April 29,

2024, the Plaintiffs responded in opposition to the motion to dismiss. Pls.’ Opp’n to

Def.’s Mot. to Dismiss (ECF No. 24) (Pls.’ Opp’n). On May 13, 2024, Commissioner

Keliher replied. Def.’s Reply to Pls.’ Opp’n to Def.’s Mot. to Dismiss (ECF No. 25)

(Def.’s Reply).

       On June 3, 2024, the Plaintiffs moved for oral argument on the motion for

preliminary injunction and the motion to dismiss, Unopposed Mot. for Oral Arg. (ECF

No. 26); the Court granted the motion for oral argument on the same day. Order

(ECF No. 27). On June 19, 2024, ASMFC requested leave to participate in oral

argument as amicus curiae. Mot. of Amicus Curiae Atl. States Marine Fisheries

Comm’n for Leave to Participate in Oral Arg. on Mot. to Dismiss and Mot. for Prelim.

Inj. (ECF No. 28). The Court granted the ASMFC’s motion on June 25, 2024, Order.

(ECF No. 29), and held oral argument on November 19, 2024. Min. Entry (ECF No.

32).



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II.     FACTUAL BACKGROUND 2

        A.      The American Lobster Fishery

        The American Lobster fishery is one of the nation’s most valuable fisheries.

Compl. ¶ 1. In 2016 alone, approximately 159 million pounds of lobster were landed

within the fishery. Id. Over 97% of this haul was landed in the Gulf of Maine and

Georges Bank, an area far offshore between Massachusetts and Nova Scotia. Id.

        Roughly 4,800 lobster license holders, 1,100 student license holders, and a

great number of lobster dealers, processors, sternmen, bait dealers, trap builders,

boat mechanics, shipyards, and local coastal merchants depend on the Maine lobster

fishery for their very survival. Id. ¶ 2. Maine’s lobster supply chain contributes $1

billion to the state’s economy each year, in addition to the value of its actual lobster

landings. Id. By virtue of custom and practice over generations of lobstering men

and women, the placement of lobster traps and trip routes is akin to “coveted

individual trade secrets used by lobstermen to optimize their harvest.” Id. ¶ 3.

Accordingly, this information has substantial economic value to each lobsterman. Id.

        Federal and state regulators share oversight of the Atlantic coast fisheries. Id.

¶ 4. Individual states regulate waters within three nautical miles of shore, while the

National Marine Fisheries Service (NMFS), a sub-agency of the National Oceanic and

Atmospheric Administration (NOAA), regulates the federal waters extending 200


2       Consistent with the motion to dismiss standard, the Court relied on the complaint’s well-
pleaded facts. “[T]he court must distinguish ‘the complaint’s factual allegations (which must be
accepted as true) from its conclusory legal allegations (which need not be credited).’” García-Catalán
v. United States, 734 F.3d 100, 103 (1st Cir. 2013) (quoting Morales-Cruz v. Univ. of P.R., 676 F.3d
220, 224 (1st Cir. 2012)); see also Schatz v. Republican State Leadership Comm., 669 F.3d 50, 55
(stating that a court may “isolate and ignore statements in the complaint that simply offer legal labels
and conclusions or merely rehash cause-of-action elements”).

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nautical miles from the inner boundary of state waters (known as the Exclusive

Economic Zone or EEZ). Id.

      B.     The Magnuson-Stevens Fishery Conservation and Management
             Act

      The Magnuson-Stevens Fishery Conservation and Management Act (MSA)

governs fishing within the EEZ. Id. ¶¶ 7, 29 (citing 16 U.S.C. § 1802). In recognition

of the economic importance of commercial and recreational fishing, Congress adopted

the MSA to protect, manage, and grow the United States’ fishery resources. Id. ¶ 28.

To these ends, the MSA delineates scientific and conservation-based statutory

obligations to sustainably manage fishery resources for the benefit of the fishing

industry and the environment. Id. (citing 16 U.S.C. §§ 1801 et seq.). The MSA grants

the U.S. Department of Commerce the ability to exercise “sovereign rights” to

conserve and manage fishery resources “for the purposes of exploring, exploiting,

conserving, and managing all fish” in the EEZ. Id. § 29 (citing 16 U.S.C. §§ 1801(b)(1),

1811(a)).

      The MSA created eight Regional Fishery Management Councils (the Councils)

and empowers both the regional councils and Secretary of Commerce to prepare

fishery management plans (FMPs). Id. ¶ 30. Maine is governed by the New England

Council, which also oversees the fisheries of New Hampshire, Massachusetts, Rhode

Island, and Connecticut. Id. The New England Council has authority over fisheries

in the Atlantic Ocean seaward from those states. Id. (citing 16 U.S.C. § 1852(a)(1)).

Under the MSA, FMPs must be “necessary and appropriate for the conservation and

management of the fishery, to prevent overfishing and rebuild overfished stocks, and

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to protect, restore, and promulgate the long-term health and stability of the fishery.”

Id. (citing 16 U.S.C § 1853).

      Section 301 of the MSA lists ten “National Standards” that all FMPs,

regardless of the drafting entity, are required to follow. Id. ¶ 33. At least six national

standards are implicated by the Addendum at issue in the case at bar:

      1. National Standard One, which requires that “[c]onservation and
         management measures shall prevent overfishing while achieving, on
         a continuing basis, the optimum yield from each fishery for the
         United States fishing industry.”

      2. National Standard Two, which requires that “[c]onservation and
         management measures shall be based upon the best scientific
         information available.”

      3. National Standard Four, which requires that all agency measures
         that allocate or assign fishing privileges among various …
         fisherm[e]n” should be “fair and equitable” and “reasonably
         calculated to promote conservation” …. Furthermore, “[n]o particular
         individual, corporation, or other entity [should] acquire[] an
         excessive share of such privileges.”

      4. National Standard Six, which requires that “[c]onservation and
         management measures shall take into account and allow for
         variations among, and contingencies in, fisheries, fishery resources,
         and catches.”

      5. National Standard Seven, which requires that “[c]onservation and
         management measures shall, where practicable, minimize costs and
         avoid unnecessary duplication.”

      6. National Standard Eight, which requires that “[c]onservation and
         management measures shall, consistent with the conservation
         requirements … , take into account the importance of fishery
         resources to fishing communities by utilizing economic and social
         data that [are based upon the best scientific information available],
         in order to (A) provide for the sustained participation of such
         communities, and (b) to the extent practicable, minimize adverse
         economic impacts on such communities.”



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Id. (citing 16 U.S.C. § 1851(a)(1), (2), (4), (6)-(8)) (internal citations omitted).

       The MSA does not authorize or permit any collection of information on vessel

movements when the vessel is not fishing under its permit. Id. ¶ 32. The MSA also

“does not require lobster boats to have a vessel tracker[,] nor does it mention or

contemplate 24-hour location and movement surveillance of any vessel, whether by

GPS or otherwise,” regardless of whether the vessel is fishing in federal waters under

a federal permit or being used for an unregulated purpose. Id. ¶ 34. Rather, the MSA

“only permits the collection of information that is beneficial for developing,

implementing, or revising FMPs.” Id. at ¶ 32 (citing 16 U.S.C. § 1881a(a)(1) 3). If a

Council determines information collection is necessary in order to prepare an FMP,

it may request that the Secretary of Commerce implement such collection. 4 Id. (citing

16 U.S.C. § 1881a(a)(1) 5).

       C.      The Atlantic States Marine Fisheries Commission

       Both the federal and state governments regulate lobster fishing in U.S. waters

through the Atlantic States Marine Fisheries Commission. Id. ¶ 4. The ASMFC is a

multi-state collaborative organization through which fifteen Atlantic Coast states,

including Maine, coordinate their conservation efforts and share in the management



3       Plaintiffs’ complaint ¶ 32 cites 18 U.S.C. § 1881a(a)(1). This is incorrect. The proper citation
is 16 U.S.C. § 1881a(a)(1).
4       “Only where the Secretary has determined that the collection is justified does he or she have
a duty to promulgate regulations implementing the collection program.” Compl. ¶ 32 (citing 16 U.S.C.
§ 1881a(a)(2)). The Secretary may also initiate an “information collection program . . . if deemed
necessary.” Id.

       The Court has again corrected Plaintiffs’ citation from 18 U.S.C. § 1881a(a)(1) to 16 U.S.C. §
1881a(a)(1).
5      The Court has again corrected Plaintiffs’ citation from 18 U.S.C. § 1881a(a)(1) to 16 U.S.C. §
1881a(a)(1).

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of migratory fisheries within their state waters. Id. ¶¶ 4, 5. Pursuant to the Atlantic

Coastal Fisheries Cooperative Act (ACA), “[t]he responsibility for managing Atlantic

Coastal fisheries rests with the States, which carry out a cooperative program of

fishery oversight and management through the [ASMFC].” Id. ¶ 25 (citing 16 U.S.C.

§ 5101). The ACA says that it is the federal government’s responsibility “to support

such cooperative interstate management of coastal fishery resources.” Id. (citing 16

U.S.C. § 5101).

      The ACA encourages this shared responsibility by requiring the ASMFC to

draft interstate FMPs, pursuant to which each of the member-states regulates that

portion of the migratory fishery falling within their individual waters. Id. ¶ 5 (citing

16 U.S.C. § 5104(a)). Under the ACA, states are required to adopt and enforce fishery

plans promulgated by the ASMFC. Id. ¶ 5. However, FMPs implemented by any of

the NOAA Councils or the Secretary of Commerce pursuant to the MSA supersede

any conflicting regulation issued by the ASMFC. Id. ¶ 31 (citing 16 U.S.C. § 5103).

Thus, while the ACA empowers the ASMFC to draft regulations governing the EEZ,

it cannot supplant regulations issued by NOAA, NMFS, or the Secretary of

Commerce. Id. ¶ 36.

      When the ASMFC drafts FMPs containing regulations and enforcement

guidelines, it specifies the requirements for state compliance. Id. ¶ 6. The states

then draft their own rules; in Maine, this work is done by the MDMR, which regulates

lobster fishing in the state’s waters pursuant to an FMP. Id. ¶¶ 5-6 (citing 12 M.R.S.

§§ 6421-6482; 13-188 C.M.R. ch. 25, § 98). If a member state fails to timely enact



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rules adopting the ASMFC’s plan for a particular fishery, the Secretary of Commerce

has the authority to impose a moratorium on fishing in that state’s waters. Id. (citing

16 U.S.C. § 5106).

      D.     Addendum XXIX to Amendment 3 to the American Lobster
             Fishery Management Plan

      In March 2022, the ASMFC published an addendum to an existing FMP

entitled Addendum XXIX to Amendment 3 to the American Lobster Fishery

Management Plan; Addendum IV to the Jonah Crab Fishery Management Plan (the

Addendum). Id. ¶ 8; see also Compl., Attach. 1, Addendum XXIX to Amend. 3 to the

Am. Lobster Fishery Mgmt. Plan; Addendum IV to the Jonah Crab Fishery Mgmt.

Plan (ECF No. 1-1) (Addendum XXIX). The primary purpose of the Addendum is to

support risk reduction efforts promulgated in NMFS’s 2021 Atlantic Large Whale

Take Reduction Plan (Take Reduction Plan), which is designed to reduce the risk of

North Atlantic right whale entanglement in fishing lines.             Compl. ¶ 8.     As

promulgated by NMFS, the Take Reduction Plan does not contain a vessel tracking

requirement. Id.

      In addition to protecting the North Atlantic right whale, the Addendum

identifies three secondary objectives for its “‘24/7’ tracking requirement: 1) to improve

information available to fishery managers and stock assessment scientists; 2) to

support the development of offshore renewable energy and the conservation of U.S.

waters; and 3) to promote improved fishery management and offshore enforcement of

federal lobster fisheries in the EEZ.” Id. ¶ 9.




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      The Addendum requires states to issue rules mandating federally permitted

lobstermen to install an electronic tracking device onboard their respective fishing

vessels that will transmit their spatial data using a Global Positioning System (GPS).

Id. ¶ 10. “According to the Addendum, the ‘vessel tracker must remain powered and

transmitting when the vessel is in the water regardless of landing state, trip type,

location fished or target species.’” Id. The Addendum mandated compliance with the

tracking program by December 15, 2023. Id.

             1.     The Origins and Drafting of Addendum XXIX

      When the ASMFC published the Addendum, it gave no indication that it had

consulted with any Council during the drafting process. Id. ¶ 53.

      The Addendum was initiated from what the American Lobster Management

Board (ALMB) characterized as a “critical need for high resolution spatial and

temporal data.” Id. ¶ 54. At the time of the Addendum’s drafting, however, the

ALMB’s purported need for more spatial data had been previously addressed by a

prior addendum published in February 2018, Addendum XXVI. Id.; see also Compl.,

Attach. 2, Addendum XXVI to Amend. 3 to the Am. Lobster Fishery Mgmt. Plan;

Addendum III to the Jonah Crab Fishery Mgmt. Plan (ECF No. 1-2) (Addendum

XXVI). Addendum XXVI initiated a pilot program for electronic tracking of vessels

that required all federally permitted vessels to self-report harvester data either

electronically or manually. Id.

      Addendum XXVI mandated that federally licensed lobstermen self-report: 1) a

unique trip identification number; 2) a vessel identification number, 3) the trip start



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date, the location (by NMFS Statistical Area) of the trip; 4) the lobster management

area; 5) a ten-minute square level; 6) the number of traps hauled on the trip; 7) the

number of traps set on the trip; 8) the species harvested; 9) the quantity (in pounds)

of the harvest; 10) the length of the trip; 11) the number of traps employed per trawl;

12) the number of buoy lines employed; and 13) the soak time of the traps. Compl. ¶

55; see also Addendum XXVI.

       At the end of Addendum XXVI’s one-year pilot program, the ASMFC was

directed to assess the effectiveness of different tracking technologies and consider

whether the adoption of an electronic vessel tracking requirement was appropriate.

Compl. ¶ 56. The ASMFC did so, formally adopting the vessel tracking program

piloted under Addendum XXVI when it issued Addendum XXIX. Id. ¶ 57.

                2.   The Requirements of Addendum XXIX

       As noted, the Addendum requires that federally licensed lobstermen install

and activate an electronic tracking device on their vessels by December 15, 2023. Id.

The device must be installed directly on the vessel and remain activated so that it

can continually transmit location data at all times, even when the vessel is not in use

(i.e., when it is docked) or when it is not fishing in federal waters (i.e., when the vessel

is being operated by a lobsterman for personal use). Id. The electronic tracking data

is in addition to data that lobstermen are already required to self-report about their

location. Id.

       The Addendum requires the electronic tracker to have a once-per-minute “ping

rate”; this means that the device will “ping,” or collect the device’s longitude, latitude,



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corresponding vessel identifier, and the date, at one-minute intervals. Id. ¶ 58. The

Addendum also requires lobstermen to use a device that can track their vessel’s

location within 100 meters of accuracy. Id.

      Per the Addendum:

      To date, the majority of spatial analyses of lobster . . . fishery data ha[s]
      been constrained to NOAA statistical areas and state management
      areas, hindering the ability to quantify effort in specific regions or
      identify important transit routes and fishing grounds. The application
      of electronic vessel tracking to this fishery could significantly improve
      the information available to fishery managers and stock assessment
      scientists. In particular, a number of challenges the fishery is currently
      facing pose a critical need for electronic tracking data in the offshore
      fishery.

Id. ¶ 59.

             3.     The Goals of Addendum XXIX

      The Addendum enumerates four goals of its electronic tracking requirement:

      1. To improve spatial information data concerning the location of where
         the majority of fishing effort occurs by collecting spatial data more
         frequently and with more accurate precision;

      2. To improve risk reduction efforts under the [Take Reduction Plan]
         that are based on models that estimate the location of vertical buoy
         lines using effort data of a similarly coarse resolution;

      3. To promote and prioritize the development of offshore renewable
         energy and the conservation of federal waters, including wind
         energy, aquaculture, and marine protected areas that may all create
         marine spatial planning challenges for the lobster and Jonah crab
         fisheries; and

      4. To combat difficulties associated with locating gear for compliance
         checks and to increase the efficiency and efficacy of enforcement
         efforts in offshore federal management areas.

Id. ¶ 60. See also Addendum XXIX at 2.



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       “The Addendum further addresses the ASMFC’s offshore enforcement goals by

enabling the ASMFC to use this newly available data to identify subjects for

investigations into potential illegal fishing practices.” Compl. ¶ 61. The Addendum

states, in part, that:

       Enforcement personnel have consistently noted that having the ability
       to differentiate when a boat is steaming versus hauling is critical to
       efforts to inspect gear and identify when fishermen are using illegal
       gear. Even if location data are not reported in real-time, once a fishing
       location can be identified from vessel tracking data, enforcement
       personnel would be able to go to that location to inspect gear for
       appropriate markings, buoys, escape vents, and ghost panels. Given
       finite enforcement resources, information on distinct fishing locations
       would improve the efficiency and capability of offshore enforcement
       efforts.

Id.

              4.         Data Sharing Pursuant to Addendum XXIX

       The data collected from the tracking devices is shared with and managed by

the Atlantic Coastal Cooperative Statistics Program (ACCSP), which maintains a

database referred to as the Standard Atlantic Fisheries Information System (SAFIS).

Id. ¶ 62. SAFIS currently hold self-reported data from lobstermen as required by

Addendum XXVI in the form of “SAFIS reports” or “trip tickets.” Id. SAFIS will be

the repository of both self-reported trip data (eVTR data) and the new electronic

monitoring data collected by the vessel trackers. Id. The Addendum indicates that

ACCSP will match the two sources of data by means of trip identification numbers

and other vessel registration information. Id. ¶ 63.

       The Addendum “contains little to no information on how this data will be

protected from unauthorized use and disclosure.” Id. ¶ 64. There are no references

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to encryption, and there is no data governance policy detailing the specific intended

use of the data. Id. Instead, “the Addendum gives the ASMFC and MDMR broad

discretion on how they can use the data collected, without assurances that the data

will be immune from third party subpoena or how access by third parties will be

limited, even though ACCSP data has been subject to subpoenas in the past.” Id.

      Unlike electronic devices or tracking applications available in the private

marketplace, the Addendum does not provide lobstermen with the ability to view the

reporting dashboards associated with the tracking data or to agree to terms of service

describing the data collection process, nor does it provide any limits regarding how

and in what format the data can be used. Id. ¶¶ 65-66. It also does not place any

upward limits on how sophisticated the data collection can be, “i.e., whether the data

collected is limited to spatial data or whether other types of data such as voice, speed,

and other data categories can be collected.” Id. ¶ 66.

      The Addendum enumerates only two exceptions to the tracking requirement.

Id. ¶ 67. First, the requirement does not apply to vessels in Trap Area 6, which covers

state waters off the coast of New York and Connecticut, because a federal permit is

not required for lobster fishing in that area. Id. Second, the Addendum exempts

holders of state-only lobster permits without a federal commercial trap gear area

permit. Id.

      The Addendum states that the ASMFC “recommends that the federal

government promulgate all necessary regulations in Section 3.0 to implement

complementary measures to those approved in this addendum” and “requests that



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NOAA Fisheries publish the final rule on vessel tracking by May 1, 2023, with

implementation no later than December 15, 2023.” Id. ¶ 68. At the time of the

Plaintiffs’ filing of the complaint, no such final federal rule has been published by

NOAA fisheries, much less implemented. 6 Id.

        E.     The MDMR Rule

        As noted, MDMR is responsible for enforcing ASMFC’s amendments in the

state of Maine.       Id. ¶ 69.      On September 13, 2023, MDMR complied with the

Addendum by publishing a final rule entitled “Chapter 25.98 Electronic Tracking

Requirements for Federally Permitted Lobster and Jonah Crab License Holders” (the

MDMR Rule). Id. ¶ 11 (citing 13-188 C.M.R. ch. 25, § 98). The MDMR Rule required

all Maine lobstermen holding federal lobster permits to comply with the tracking

device installation requirement by December 15, 2023. Id. ¶¶ 10, 70.

        The MDMR Rule adopts the Addendum and also lists five new actions that

MDMR deems unlawful:

        1. It is unlawful for a federally permitted lobster . . . fishing license
           holder to fish for, take, possess, or land lobster . . . taken with trap
           gear without having an approved tracking device installed aboard
           the permitted vessel listed on their license.

        2. It is unlawful for a federally permitted lobster . . . fishing license
           holder to remove or have removed the approved tracking device from
           the permitted vessel listed on their license without written approval
           from the [MDMR].

        3. It is unlawful for a federally permitted lobster . . . fishing license
           holder to allow the permitted vessel listed on their license to be
           operated in the coastal waters of the State without the approved

6       The Court recites this fact as recounted by Plaintiffs in their complaint, Compl. ¶ 68; however,
NOAA appears to have implemented a final rule on May 30, 2024. See Removal of American Lobster
Effort Control Measures, 89 Fed. Reg. 46825 (May 30, 2024) (to be codified at 50 C.F.R. pt. 697).

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            tracking device being powered by an external power source at all
            times; an exception to this requirement exists when the vessel is
            moored or docked at berth.

      4. The approved tracking device must remain in an operational
         condition, minimally powered by an internal battery, when a
         permitted vessel is docked, moored, or removed from the water. The
         license holder shall notify the [MDMR] prior to an approved tracking
         device being rendered inoperative in instances where the permitted
         vessel is removed from the coastal waters for an extended period of
         time or for purposes of repairing or replacing an approved tracking
         device.

      5. It is unlawful for a person to tamper with an approved tracking
         device or device signal; tampering includes any activity that may
         affect the unit’s ability to operate or signal properly or to accurately
         compute or report the vessel’s position. Tampering with an approved
         tracking device is not considered to occur in circumstances where an
         approved tracking device is being repaired or replaced provided the
         license holder has written approval from the [MDMR].

Id. ¶ 69.

      The MDMR Rule does not list specific punishments for failure to comply with

its requirements. Id. ¶ 71. Rather, the rule “simply states that individuals will not

be punished for a device malfunction if the fisherman notifies MDMR of the issue and

makes efforts to restore it to operation in an unspecified ‘timely manner.’”         Id.

Because the MDMR Rule does not specify how enforcement will be handled in any

other exigent circumstance, “it remains unclear what responsibilities and

repercussions will be applied to fishermen unaware of malfunction of their electronic

tracking device.” Id. Plaintiffs emphasize this as a particular concern given that

lobstermen are not given access to the settings on the device itself, or in the instance

where a lobsterman is unable to repair the device. Id. It is also unclear if lobstermen




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are entitled to appeal any fines, penalties, or other enforcement actions levied against

them regarding the MDMR Rule. Id.

      Like the Addendum, the MDMR Rule requires continuous tracking and

monitoring of lobstermen even when they are not fishing in federal waters, despite

the fact that lobstermen use their vessels in other commercial capacities (such as

scallop, tuna, and menhaden fishing) as well as recreationally. Id. ¶ 72. Thus,

lobstermen’s “movements will be tracked on a minute-by-minute basis even during

emergency search and rescue operations.” Id.

      “Upon information and belief, the scope of potential privacy and security

intrusions associated with the MDMR Rule far exceed those of any other vessel (or

motor vehicle) tracking requirement ever implemented in [Maine].” Id. ¶ 73. The

existing scallop tracking requirement, for example, mandates that a tracker be active

only when the vessel is entering the federal scallop fishery and requires a once-per-

hour ping rate. Id.

             1.       The Particle TrackerOne Device

      In November 2023, MDMR began sending federally permitted lobstermen

electronic trackers that complied with the MDMR Rule. Id. ¶ 74. MDMR received

funding for the electronic trackers and the associated data plans through a NOAA

and National Fish Wildlife Grant. Id. MDMR represents that it will pay for the

associated data plan for the first three years of the program; it is unclear who will

fund the data plan beyond that period. Id.




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      MDMR used these grant funds “to select and purchase one of the many

available electronic trackers meeting the specifications called for by the Addendum.”

Id. ¶ 75. The tracking device MDMR selected is the “TrackerOne,” an electronic

tracker distributed by Particle, a U.S.-based company. Id. Particle intends to store

the data on their U.S.-based servers and offers “dashboards” that allow users

visibility into the data being collected by the TrackerOne device in real time. Id. The

TrackerOne is manufactured in China based on Particle’s design. Id.

      In the materials that accompany each TrackerOne device, see Compl., Attach.

3, Fed. Permit Holder Vessel Tracking Requirements (ECF No. 1-3) (Vessel Tracking

Requirements), MDMR requires that the TrackerOne be installed directly on fishing

vessels either via a USB port or by hardwiring the tracker to the vessel. Compl. ¶

76. After installation, the lobsterman is then responsible for ensuring that the

tracker remains activated at all ties, either by running a generator or by using the

vessel’s house batteries. Id.

      MDMR did not provide lobstermen with any of the manufacturer’s

specifications, privacy agreements, dashboard access, or other information associated

with the tracker. Compl. ¶ 77. Lobstermen are thus unaware of what data will be

collected, how that data will be used, or the circumstances under which that data can

be shared. Id. Plaintiffs note “[t]his is particularly worrisome given that, in addition

to determining a user’s GPS coordinates, the TrackerOne appears to be Bluetooth

compatible, may be adapted in order to collect audio information, and employs a

predictive algorithm that can anticipate vessel movements.” Id.



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      F.     Plaintiffs’ Attempts to Raise their Concerns

      In the fall of 2023, the Plaintiffs voiced their concerns about the Addendum to

the Sustainable Maine Fishing Foundation (SMFF), a non-profit entity established

to support efforts to sustain the lobster fishery and protect the rights of the fishing

communities that depend on the lobster industry. Id. ¶ 78.

      In response to the confidentiality, privacy, and enforcement concerns voiced by

many affected lobstermen, SMFF corresponded with Commissioner Keliher, in his

official capacity, on December 13, 2023 to detail the lobstermen’s apprehensions and

to request further information on the TrackerOne and how its data would be collected,

stored, maintained, and protected. Id. ¶ 79; see also Compl., Attach. 4, Dec. 13, 2023

Correspondence (ECF No. 1-4). SMFF also requested an extension of the December

15, 2023 implementation date. Id.          At the time of filing, SMFF had not received a

formal response to its correspondence. 7            Id.    However, Commissioner Keliher

“informed a member of the [Maine Lobstermen’s Union] that the tracking

requirement was ‘out of his hands.’” Id.

      G.     The Parties

      The Plaintiffs in this case are individual Maine lobstermen subject to the

tracking device requirements of the MDMR Rule. See id. ¶¶ 13-18.

      Plaintiff Frank Thompson is an individual residing in Vinalhaven, Maine.

Compl. ¶ 13. Mr. Thompson and his spouse, Jean Thompson, are co-owners of Fox

Island Lobster Company LLC (FILCO).                 Id.   He is also a federally permitted



7     The Court restates this fact as recounted in Plaintiffs’ complaint. Compl. ¶ 79.

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lobsterman and fishes 800 traps in federal waters. Id. MDMR gave Mr. Thompson

a vessel tracker and required that he install the device on his vessel by December 15,

2023. Id.

      Plaintiff Joel Strout is an individual lobsterman residing in Harrington, Maine

and the President of the District 4 Lodge of the International Association of Machinist

and Aerospace Workers, Local Lodge 207, formerly known as IAMAW Maine

Lobstering Union – Local 207 (MLU). Id. ¶ 14. All MLU members hold active Maine

commercial lobster and crab fishing licenses. Id. Mr. Strout himself is a federally

permitted lobsterman who fishes 800 traps in federal waters. Id. MDMR gave Mr.

Strout a vessel tracker and required that he install the device on his vessel by

December 15, 2023. Id.

      Plaintiff Jason Lord is an individual lobsterman residing in Pemaquid, Maine.

Id. ¶ 15. Mr. Lord is a federally permitted lobsterman who fishes 800 traps in federal

waters. Id. MDMR gave Mr. Lord a vessel tracker and required that he install the

device on his vessel by December 15, 2023. Id.

      Plaintiff Christopher Smith is an individual residing in Jonesport, Maine. Id.

¶ 16. Mr. Smith is a federally permitted lobsterman who fishes 800 traps in federal

waters. Id. MDMR gave Mr. Smith a vessel tracker and required that he install the

device on his vessel by December 15, 2023. Id.

      Plaintiff Jack Cunningham is an individual residing in Bar Harbor, Maine. Id.

¶ 17. Mr. Cunningham is a federally permitted lobsterman who fishes 800 traps in




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federal waters. Id. MDMR gave Mr. Cunningham a vessel tracker and required that

he install the device on his vessel by December 15, 2023. Id.

       Defendant Patrick Keliher is the Commissioner of the MDMR, appearing as a

Defendant in his official capacity. Id. ¶ 18. Commissioner Keliher is also a member

of the ASMFC. Id. In his official role, Commissioner Keliher “supervises and directs

all business conducted by the MDMR and is responsible for ensuring that the actions,

decisions, and rules of that agency comply with all applicable laws and regulations.”

Id.

III.   THE PARTIES’              POSITIONS            ON    WHETHER           DISMISSAL           IS
       APPROPRIATE

       A.      The Plaintiffs’ Allegations

       Plaintiffs challenge the adoption and enforcement of the MDMR Rule on three

grounds. Compl. ¶ 12. They argue, first, that the MDMR Rule’s requirement of a

twenty-four-hour-a-day vessel tracker is an unreasonable search and seizure in

violation of due process protections in the Fourth and Fourteenth Amendments to the

U.S. Constitution. Id. They argue, second, that the MDMR Rule violates Plaintiffs’

equal protection rights pursuant to the Fifth and Fourteenth Amendments to the U.S.

Constitution and Article I, § 6-A of the Maine Constitution by failing to describe any

of the conditions under which it will be enforced and the penalties for noncompliance,

such that the Court should find it to be void for vagueness. 8 Id. Third, Plaintiffs aver



8       The Plaintiffs state in their complaint that they bring their federal equal protection claim
pursuant to Articles V and XIV of the U.S. Constitution. Compl. ¶ 12. As Plaintiffs’ counsel
acknowledged at oral argument, the references to Articles V and XIV, not Amendments V and XIV,
are an obvious typographical error, and the Court has treated the references to be to the Amendments.


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that the MDMR Rule violates the Maine Administrative Procedure Act (the Maine

APA), 5 M.R.S. §§ 8001 et seq., because it is arbitrary and capricious and contrary to

law. Id.

                1.      Count One: The Fourth Amendment

        Plaintiffs begin by informing the Court that the Fourth Amendment to the U.S.

Constitution protects individuals from unreasonable searches and seizures; a search

or seizure is “unreasonable” when the government trespasses into personal property,

without a warrant, in violation of a reasonable expectation of privacy. Id. ¶ 21 (citing

U.S. CONST. amend. IV). Plaintiffs aver that the use of information or evidence

obtained through an unconstitutional search and seizure is a violation of the due

process protections in the Fourteenth Amendment. Id. ¶ 22 (citing U.S. CONST.

amend. XIV).

        Plaintiffs point out that the United States Supreme Court has held that long-

term “GPS monitoring of even a vehicle traveling on public streets constitutes a

search,” and that individuals have a reasonable expectation of privacy in physical

movements captured by GPS monitoring. Id. ¶ 23 (citing Carpenter v. United States,

585 U.S. 296, 309, 314-15 (2018) (“Whether the Government employs its own

surveillance technology . . . or leverages the technology of a wireless carrier, we hold

that an individual maintains a legitimate expectation of privacy in the record of his

physical movements”).



        The Court also notes that allegations of “void for vagueness” are typically argued as a violation
of due process rights, not equal protection. However, the Court views the complaint “in the light most
favorable to the plaintiff,” Germanowski, 854 F.3d at 71, and infers that Plaintiffs intended to bring
Count Two as a violation of their rights to due process.

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      These constitutional protections extend, Plaintiffs argue, to an individual’s

right to conduct a business free from government incursion. Id. ¶ 24 (citing Airbnb,

Inc. v. City of New York, 373 F. Supp. 3d 467, 487-88 (S.D.N.Y. 2019) (finding

businesspeople “ha[ve] a constitutional right to go about [their] business free from

unreasonable official entries upon [their] private commercial property”)). To comply

with the Fourth Amendment, Plaintiffs contend, “an administrative search of a

business must have a limited scope, a relevant purpose, specificity in its demands,

and a neutral arbiter.” Id.

      Turning to the case at hand, Plaintiffs contend that, under the Fourth

Amendment’s protection against unreasonable searches and seizures, they “have a

reasonable expectation of privacy in the movements of their fishing vessels and the

precise location of their lobster traps.” Id. ¶ 81. Plaintiffs argue that they also have

a reasonable expectation of privacy “in the data produced by the tracker itself.” Id. ¶

82. They assert that they have a constitutional right to be free from unreasonable

official entries upon their private commercial property when acting in a business

capacity, id. ¶ 83, and that the tracking requirements set forth in the Addendum and

the MDMR Rule constitutes a Fourth Amendment search “insofar as the Defendant,

without a warrant, is tracking the Plaintiffs’ movements while conducting business

activities within federally regulated waters, as well as their personal movements

while in state-controlled waters.” Id. ¶ 84.

      They aver that neither the ASMFC nor MDMR have articulated the “limited

scope, relevant purpose, and specificity required to otherwise obtain this satellite



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tracking data through a constitutional administrative search.” Id. ¶ 85. “Because

ASM[F]C and MDMR intend to use the tracker’s surveillance data in connection with

offshore enforcement efforts,” they opine, “the information being collected without [a]

warrant from the Plaintiffs, and potentially used punitively against them, violates

their right to be free from the deprivation of life, liberty, and property without due

process of law.” Id. ¶ 86.

             2.     Count Two: Equal Protection

      Plaintiffs assert that the guarantee of equal protection enshrined in the Fifth

and Fourteenth Amendments of the federal Constitution and Article I, § 6-A of the

Maine Constitution, “applies to the conduct and action of the Defendant and its

officials and employees.” Id. ¶ 88. They aver that they “have a constitutionally

protected right to equal protection under the law when the government regulates

their private property, movements, and business activities.” Id. ¶ 89.

      The MDMR Rule, Plaintiffs contend, does not provide this constitutionally

required protection and is thus “void for vagueness in that it is designed to enforce

criminal and regulatory offenses without defining the contours of offenses with

sufficient definiteness such that ordinary people can understand what conduct is

prohibited and in a manner that does not encourage arbitrary and discriminatory

enforcement.” Id. ¶ 91.

      “By way of example,” Plaintiffs continue, “the MDMR Rule does not list the

penalties for noncompliance, indicate what offenses can be prosecuted based on the

data that is collected, what enforcement efforts can be used in connection with the



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 tracking device, or whether any non-compliance has implications on their fishing

 licensure.” Id. ¶ 92. They also argue that the MDMR Rule does not state what

 penalties, if any, may be imposed for unintentional, as opposed to intentional,

 violations, “whether MDMR will make efforts to distinguish server-side errors from

 fisherman error,” or what appellate rights plaintiffs have pursuant to the rule. Id. ¶

 93. “Given the lack of clarity on how MDMR intends to incorporate the ‘offshore

 enforcement’ efforts called for by the Addendum, and the fact that there are no

 detailed penalties in the MDMR rule for noncompliance,” Plaintiffs conclude that “the

 MDMR Rule is void for vagueness in that it violates the equal protection guarantees

 provided by both the [U.S.] and Maine constitutions.” Id. ¶ 94.

              3.     Count Three: The Maine APA

       Plaintiffs inform the Court that rules promulgated by a Maine administrative

 agency can be challenged under the Maine APA on procedural and substantive

 grounds, id. ¶ 49 (citing 5 M.R.S. § 8058(1)), and that a court reviewing a challenged

 agency action:

       must set aside an agency rule that 1) does not contain the written
       statement required by Section 8057-A; 2) involves a procedural effort
       that is substantial and related to matters of such central relevance to
       the rule that there is a substantial likelihood that the rule would have
       been significantly changed if the error had not occurred; or 3) is
       arbitrary, capricious, an abuse of discretion, or otherwise not in
       accordance with law.

 Id. ¶ 96 (citing 5 M.R.S. § 8058).

       First, Plaintiffs establish that the Maine APA requires agencies engaged in

 rulemaking to publish a written statement explaining the factual and policy basis for



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 the proposed rule. 9 Id. ¶ 48 (citing 5 M.R.S. § 8052(5)). They assert that the MDMR

 Rule violates 5 M.R.S. § 8052(5) by failing to “specify the operation, fiscal impact, or

 information considered by MDMR in its promulgation of the Rule,” in particular

 regarding the MDMR Rule’s 1) specific enforcement provisions or data governance

 policy, 2) “specification of the fiscal implications to fisherm[e]n once the grant funding

 for the trackers expires,” and 3) “specification as to how MDMR arrived at a required

 ping rate or determined a need for the tracking of licensees beyond the scope of their

 lobster fishing activity.” Id. ¶ 97.

        Second, Plaintiffs contend that the MDMR Rule also violates the Maine APA

 because it is arbitrary and capricious for being “inconsistent with the goals of the

 MSA,” offering the following examples of the MDMR Rule’s failures:

        1. Does not contain an adequate explanation for why minute-by-minute
           surveillance (as opposed to the hourly surveillance called for by the
           scallop tracking program) of federally permitted lobster fishing
           vessels is required to protect, conserve, grow or manage the
           American lobster fishery;

        2. Authorizes the tracking of lobster vessels in state waters, when the
           vessel is being used for other commercial purposes unrelated to
           lobster fishing, and/or when the vessel is being used recreationally;

        3. Calls for a substantial increase in surveillance without an
           explanation as to why the self-reported spatial information that
           fishermen have gathered since 2018 under [the Addendum] is
           insufficient information for purposes of [Magnuson-Stevens Act]
           compliance and/or does not violate National Standard 7, which



 9      Plaintiffs note that Maine APA § 8052(5) further requires the written statement include
 information identifying persons who commented on the proposed rule, including the organizations they
 represent and a summary of their comments. Compl. ¶ 48 (citing 5 M.R.S. § 8052(5)). They note that
 the same section mandates agencies publish “their rationales for adopting, or failing to adopt, any
 changes to proposed rules, or when they draw findings and recommendations different from those
 expressed by commentators.” Id. (citing 5 M.R.S. § 8052(5)).

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             specifically states that any fishery plan shall “avoid unnecessary
             duplication”;

       4. Risks exposing the Plaintiffs’ trade secrets to third-parties without
          any explanation of what efforts, if any, are being taken to encrypt
          and protect that information from third parties, including whether
          third parties will be able to subpoena this information or whether
          this information will be available as part of the administrative record
          in challenges to other agency actions;

       5. States that the information collected will be shared with
          “appropriate state or federal agencies” without defining those
          agencies that MDMR deems to be appropriate, limit what these
          agencies can subsequently do with that information, or state whether
          this information will be available to other agencies or private parties
          interested in developing wind energy projects in lobster fishing
          grounds;

       6. Has a stated purpose of furthering renewable energy projects,
          including wind energy, that is well beyond the goals of FMPs
          authorized by the [Magnuson-Stevens Act];

       7. Requires a tracker that can be Bluetooth enabled and is capable of
          collecting nonspatial data; and

       8. Is more expensive and intrusive than necessary to achieve the
          Addendum’s stated goals.

 Id. ¶ 98.

       Third, Plaintiffs argue that the MDMR Rule violates the Maine APA by being

 contrary to law. Id. ¶¶ 12, 99. They specifically assert that the MDMR Rule is

 contrary to the Consolidated Appropriations Act, 2023 Pub. L. No. 117-328, Div. JJ,

 136 Stat. 4459, 6089-92 (2022) (CAA), which includes a provision specifying that the

 Take Reduction Plan is “sufficient to ensure that the continued Federal and State

 authorizations of the American Lobster . . . fisher[y] are in full compliance with both




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 the Marine Mammal Protection Act [MMPA] and the Endangered Species Act [ESA]

 until December 31, 2028.” Id. ¶ 12 (internal quotation marks omitted).

       Plaintiffs assert that the MDMR Rule is contrary to the CAA because the

 former is not an extension of an emergency rule existing at the time of the CAA’s

 passage, but rather is a new regulation or administrative action designed to bring the

 lobster industry into compliance with the ESA and MMPA in violation of the CAA’s

 express provision that the existing amendments to the Take Reduction Plan are to be

 deemed sufficient for compliance until December 2028. Id. ¶ 99. Plaintiffs further

 claim that the MDMR Rule is contrary to law because “Section . . . 101 creates field

 preemption over regulations of federally licensed lobster and Jonah Crab fisheries

 such that MDMR has no authority to create state regulations affecting them.” Id.

 Finally, Plaintiffs argue that the Addendum and the MDMR Rule are both

 inconsistent with the mandatory National Standards articulated in the MSA. Id.

       After acknowledging that federal review of state administrative action or rules

 is “generally inappropriate when a federal court is asked to answer questions specific

 to state law concerns and administration,” id. ¶ 50, Plaintiffs insist that their

 challenge to the MDMR Rule “does not involve questions specific to Maine state law

 because the MDMR Rule adopts the federal policy contained in the . . . Addendum

 that Maine is required to adopt under federal law.” Id. ¶ 100. Plaintiffs suggest that

 their challenge thus survives the narrowly tailored Burford 10 abstention doctrine,

 which requires federal courts to show deference to state administrative processes



 10    Burford v. Sun Oil Co., 319 U.S. 315 (1943).

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 when “the rule or action involved pertains only to state-law issues that serve a

 significant local interest.” Id. ¶ 51 (citing Chico Serv. Station, Inc. v. Sol Puerto Rico

 Ltd., 633 F.3d 20, 29 (1st Cir. 2011) (emphasis added by Plaintiffs).

       B.     Commissioner Keliher’s Motion to Dismiss

       Commissioner Keliher moves to dismiss Counts One and Two in Plaintiffs’

 complaint for failure to state a claim upon which relief can be granted and Count

 Three for lack of subject matter jurisdiction. Mot. to Dismiss at 9-24.

              1.     Federal Rule of Civil Procedure 12(b)(1)

                     a.     Count Three: The Maine APA

       Commissioner Keliher begins by moving to dismiss Count Three against him

 on jurisdictional grounds pursuant to Federal Rule of Civil Procedure 12(b)(1). Id at

 9-10. Commissioner Keliher argues that “[t]he Complaint on its face . . . establishes

 that the Court does not have jurisdiction over [Count Three] because the Eleventh

 Amendment to the U.S. Constitution ‘denies federal courts jurisdiction to award . . .

 relief against state officials based upon violations of state law.” Id. at 9 (quoting

 Guillemard-Ginorio v. Contreras-Gomez, 585 F.3d 508, 529 (1st Cir. 2009) (collecting

 cases). When a plaintiff asks a federal court to compel state officers to comply with

 state law, Commissioner Keliher says that “the only appropriate response is to

 dismiss the state law claims,” “even in a suit also bringing claims grounded in federal

 law.” Id. (citing Cuesnongle v. Ramos, 835 F.2d 1486, 1497 (1st Cir. 1987) (“If the

 plaintiff wishes the federal court to address the federal claims, bifurcation will be the

 only option”); Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 121 (1984)



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 (“neither pendent jurisdiction nor any other basis of jurisdiction may override the

 Eleventh Amendment”)).

       In response to Plaintiffs’ argument that “[a] challenge to the [MDMR] Rule

 does not involve questions specific to Maine state law because the [MDMR] Rule

 adopts . . . federal policy,” Compl. ¶ 100, Commissioner Keliher says this “does not

 help them for two reasons.” Mot. to Dismiss at 9. First, Commissioner Keliher says,

 Plaintiffs’ suggestion that the MDMR Rule “is a creature of state law is simply

 incorrect” because the MDMR Rule arises from the Addendum, “which is itself a

 creation of the multistate [ASMFC] and not of any federal entity.” Id. (citing Mot. to

 Dismiss, supra, sect. II). On this point, Commissioner Keliher also avers that the

 MDMR Rule does not have to be consistent with the MSA’s National Standards. Id.

 (citing Mot. to Dismiss, supra, n. 5).

       “Second, and most importantly,” he says, the relevant issue is whether Count

 Three seeks relief against a state official based on violations of state law, not whether

 the count involves “questions specific to Maine law.” Id. at 9-10 (citing Guillemard-

 Ginorio, 585 F.3d at 529). In other words, Commissioner Keliher opines, “the major

 problem with Count III is this Court’s lack of jurisdiction under the Eleventh

 Amendment, not the principles underlying Burford abstention.” Id. at 10 (citing

 Compl. ¶¶ 50-52; Chico Serv. Station, Inc., 633 F.3d at 29 (“the fundamental concern

 in Burford is to prevent federal courts from bypassing a state administrative scheme

 and resolving issues of state law and policy that are committed in the first instance

 to expert administrative resolution”); Burford, 319 U.S. 315).



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       Concluding that the complaint, on its face, shows that the Court lacks

 jurisdiction over Plaintiffs’ third count because of Defendant’s sovereign immunity,

 Commissioner Keliher accordingly asks the Court to dismiss Count Three pursuant

 to Federal Rule of Civil Procedure 12(b)(1). Id.

              2.    Federal Rule of Civil Procedure 12(b)(6)

                    a.     Count One: The Fourth Amendment

       Commissioner Keliher next argues the facts alleged in Count One of Plaintiffs’

 complaint, “even drawing all reasonable inferences in Plaintiffs’ favor, show no

 plausible path to relief because the [MDMR] Rule unquestionably meets the

 requirements for a lawful ‘administrative search’” and thus does not violate the

 Fourth Amendment. Id. at 10-11.

       The Fourth Amendment’s prohibition on “unreasonable searches and

 seizures,” Commissioner Keliher admits, has long established that “warrantless

 searches of private premises are presumptively unreasonable.” Id. at 11 (quoting

 United States v. Almonte-Baez, 857 F.3d 27, 31 (1st Cir. 2017)) (citing Brigham City

 v. Stuart, 547 U.S. 398 (2006)). However, Commissioner Keliher continues, courts

 have recognized several exceptions to this presumption of unreasonableness. Id. “Of

 relevance here,” he says, the United States Supreme Court has found that “an

 ‘administrative search’ is a warrantless search that ‘serve[s] a “special need” other

 than conducting criminal investigations.’” Id. (quoting City of Los Angeles v. Patel,

 576 U.S. 409, 420 (2015)).    Commissioner Keliher asserts that, generally, these

 warrantless searches do not run afoul of the Fourth Amendment if the subject of the



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 search is afforded an opportunity for pre-compliance review before a neutral arbiter.

 Id. (citing Patel, 576 U.S. at 420).

       When the search involves commercial premises in a “closely regulated”

 industry, Commissioner Keliher continues, “an even ‘more relaxed standard’ applies.”

 Id. (citing Patel, 576 U.S. at 424).     These searches do not violate the Fourth

 Amendment so long as (1) there is a substantial government interest behind the

 regulatory scheme pursuant to which the search is made; (2) the search is necessary

 to furthering that interest; and (3) the regulatory scheme “perform[s] the two basic

 functions of a warrant: it must advise the owner of the commercial premises that the

 search is being made pursuant to the law and has a properly defined scope, and it

 must limit the discretion of the inspecting officers.” Id. (citing Burger, 482 U.S. 691,

 702-03 (1987); Rivera-Corraliza v. Morales, 794 F.3d 208, 216-17 (1st Cir. 2015)

 (articulating the “Burger test”); United States v. Gonsalves, 435 F.3d 64, 67 (1st Cir.

 2006) (same)).

       Commissioner Keliher explains that this “more relaxed standard” is applied to

 administrative searches of closely regulated industries because “[a]n expectation of

 privacy in commercial premises . . . is different from, and indeed less than, a similar

 expectation in an individual’s home [and] is particularly attenuated in commercial

 property employed in ‘closely regulated’ industries.” Id. at 11-12 (citing Burger, 482

 U.S. at 700; Giragosian v. Bettencourt, 614 F.3d 25, 29 (1st Cir. 2010) (“[T]he owner

 of commercial property in a closely regulated industry has a reduced expectation of

 privacy in those premises”)).     Commissioner Keliher notes that this diminished



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 expectation of privacy also applies when the “premises” being searched is a vehicle.

 Id. at 12, n. 14 (citing United States v. Maldonado, 356 F.3d 130, 135 (1st Cir. 2004)

 (“For purposes of the Burger doctrine, we see no meaningful distinction between

 commercial premises and commercial vehicles”)).

         Turning to the instant case, Commissioner Keliher concedes that the electronic

 tracking requirement in the MDMR Rule constitutes a Fourth Amendment search.

 Id. at 12 n.16. However, he contests Plaintiffs’ contention that the MDMR Rule

 amounts to an unreasonable search in violation of the Fourth Amendment. Id. at 12.

 Commissioner Keliher argues that by requiring the installation of devices on

 commercial lobster fishing vessels that transmit vessel location data while the vessel

 is lobstering in federal and state waters, “the [M]DMR Rule constitutes an

 administrative search of a commercial premises engaged in a closely regulated

 industry.” Id. at 12.

         Commissioner Keliher first argues that the American lobster fishery is a

 closely regulated industry, and then, by analyzing the MDMR Rule under the three

 elements of the Burger test, submits the MDMR Rule “complies with the well-

 established requirements for such a search, . . . is consistent with reasonable

 expectations of privacy[,] and does not violate the Fourth Amendment.” 11 Id.


 11      In a footnote, Commissioner Keliher says that his motion to dismiss, “like Plaintiffs’
 Complaint,” focuses on Plaintiffs’ privacy expectations in their movements while engaged in the lobster
 fishery, and in the location of their lobster traps. Mot. to Dismiss at 12 n.17 (citing Compl. ¶¶ 81-83).

         He notes that “Plaintiffs assert in passing that fishing vessels covered by the [M]DMR Rule
 are also occasionally used for other purposes . . . . [b]ut these allegations do not support a plausible
 inference that they have a reasonable expectation of privacy in their movements while fishing for non-
 lobster species – activity within the scope of the pervasively regulated commercial fishing industry –
 or engaging in search-and-rescue operations at sea.” Id. at 12-13 n.17.

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                                 i.      Closely Regulated Industry

         An industry is “closely regulated” when it is subject to pervasive regulation

 and inspection, says Commissioner Keliher. Id. at 13 (citing U.S. Dep’t of Just. v.

 Ricco Jonas, 24 F.4th 718, 734 (1st Cir. 2022). Commissioner Keliher contends that

 courts have recognized commercial fishing as a closely regulated industry. Id. at 13

 (citing United States v. Raub, 637 F.2d 1205, 1209 (9th Cir. 1980) (“Commercial

 fishing has a long history of being a closely regulated industry”); Lovgren v. Byrne,

 787 F.2d 857, 865 & n.8 (3d Cir. 1986) (“the fishing industry has been the subject of

 pervasive governmental regulation since the founding of the Republic”).

         While he acknowledges that the Supreme Court has not deemed commercial

 fishing to be closely regulated, Commissioner Keliher opines that “a comparison with

 other closely regulated industries demonstrates that commercial fishing is closely

 regulated.” 12     Id. at 13. In Burger, he says, the Supreme Court concluded that

 automobile junkyards were closely regulated because operators must obtain a license,

 must maintain records and make them available for government inspection, must




         Commissioner Keliher continues, “To the extent Plaintiffs have a reasonable expectation of
 privacy in their commercial fishing vessels’ movements while using these vessels for personal travel,
 Plaintiffs’ allegations do not support a plausible inference the collection of location data from these
 trips as occasional incident to the lawful administrative search regime falls outside the de minimis
 exception to the Fourth Amendment’s warrant requirement.” Id. at 13 n.17 (citing Pennsylvania v.
 Mimms, 434 U.S. 106, 111 (1977); Taylor v. City of Saginaw, 620 F. Supp. 3d 655, 664 (E.D. Mich.
 2022); United States v. Jacobsen, 466 U.S. 109, 125 (1984)).
 12      Commissioner Keliher acknowledges in a footnote that the U.S. Supreme Court in Patel, 576
 U.S. at 424, questioned the scope of the closely regulated industry doctrine and noted that it had only
 recognized four industries (liquor sales, firearms dealing, mining, and automobile junkyards) as
 “closely regulated.” Mot. to Dismiss at 13 n.18. However, Commissioner Keliher says, “the Court’s
 actual holding in Patel was only that ‘hotels’ … do not constitute a closely regulated industry,” id.
 citing Patel, 576 U.S. at 425-26, and, “post-Patel, courts have continued to recognize various industries
 as closely regulated.” Id. (collecting cases).

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 display their registration number in various ways, and are subject to criminal

 penalties, loss of license, or civil fees for failure to comply. Id. at 13-14 (citing Burger,

 482 U.S. at 704-05). Commissioner Keliher argues that “[a] sample of the federal and

 state laws and regulations governing commercial lobster fishing in Maine, of which

 this Court may take judicial notice, . . . demonstrates requirements that are just as

 stringent and wide-ranging as those in Burger, if not more so.” 13 Id. at 14. He

 includes examples of lobster fishery regulations which, he says, support finding the

 industry to be “closely regulated”:

         1. The ACFCMA, 16 U.S.C. §§ 5101-5108, requires the [ASMFC] to adopt
            [FMPs] and, should a member state fail to comply with a [FMP], gives the
            U.S. Secretary of Commerce authority to declare a moratorium on that
            state’s fishery;

         2. 50 C.F.R. Part 697 manages lobster fisheries by, among other things,
            requiring vessel permits, trap limits and tags, restricting gear in certain
            areas, and providing for at-sea sampler/observer coverage.

         3. Under 46 C.F.R. Chapter 1, the U.S. Coast Guard and the Department of
            Homeland Security require commercial fishing vessels to carry certain
            safety equipment.

         4. Title 12, Chapter 619, of the Maine Revised Statutes and Chapter 25 of
            [M]DMR’s rules, 13-188 C.M.R. ch. 25, manages the lobster fishery by,
            among other things, requiring licensure, limiting the size of lobsters that
            may be taken, requiring that certain lobsters be notched and thrown back,
            and managing how lobster gear is tagged and handled and how traps are
            constructed.




 13       Commissioner Keliher argues that “[a] court may take judicially noticeable ‘matters of public
 record’ without converting a motion to dismiss to a motion for summary judgment.” Mot. to Dismiss
 at 14, n.19 (citing Boateng v. InterAmerican Univ., Inc., 210 F.3d 56, 60 (1st Cir. 2000)). “In general,”
 he continues, “federal courts may take judicial notice of federal and state laws and regulations. Id.
 (citing 21B Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Evid. § 5102.1 (2d ed.); Greene
 v. Rhode Island, 398 F.3d 45, 48-49 (1st Cir. 2005) (taking judicial notice of a federal statute at the
 motion to dismiss stage)).

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        5. Maine law provides that any person who “receives a [marine resources]
           license . . . has a duty to submit to inspection and search for violations
           related to the licensure activities by a marine patrol officer” and that
           “[w]atercraft or vehicles . . . used primarily in a trade or business requiring
           a license . . . may be searched or inspected at any time.” 12 M.R.S. § 6306(1).

 Mot. to Dismiss at 14-15.

        In addition to the above, Commissioner Keliher asserts that “people operating

 vessels at sea—whether or not they are engaging in commercial fishing—are subject

 to a network of regulations that allow officials to board and inspect vessels.” Id. at

 15. While reasonable suspicion is needed to stop a personal vehicle on a highway or

 a pedestrian on a public street, “a vessel at sea . . . can be stopped for document checks

 and safety inspections at any time even without reasonable suspicion.” Id. (citing

 United States v. Villamonte-Marquez, 462 U.S. 579, 592-93 (1983); United States v.

 Green, 671 F.2d 46, 53 (1st Cir. 1982); State v. Giles, 669 A.2d 192, 193 (Me. 1996)).

 He informs the Court that “Maine law specifically provides that ‘[m]arine patrol

 officers may stop and board any watercraft at any time to inspect its documents,

 licenses, and permits of the occupants of the watercraft and to conduct a safety

 inspection.” Id. (citing 12 M.R.S. § 6133(1)).

        Based on the foregoing, Commissioner Keliher concludes that commercial

 fishing is a closely regulated industry and Plaintiffs thus have a “greatly reduced

 expectation of privacy.” Id. He further notes that Plaintiffs “have alleged no facts

 that would support a different conclusion,” emphasizing that “in their Motion for

 Preliminary Injunction, Plaintiffs ‘concede that commercial fishing is a closely[]

 regulated industry.’” Id.; id. at 15 n.20 (citing Pls.’ Mot. for Prelim. Inj. at 12).



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        Commissioner Keliher proceeds to the first prong of the Burger test.

                           ii.      Substantial Government Interest

        Commissioner Keliher acknowledges that, to comply with the Fourth

 Amendment, “[a] lawful administrative search of a closely regulated industry must

 be necessary to furthering a substantial government interest.” Id. at 15 (citing

 Burger, 482 U.S. at 702).       He then avers that the MDMR “undoubtedly has a

 substantial interest in regulating the lobster fishery and ensuring its long-term

 viability as an economic and cultural pillar of Maine society.” Id. (citing 12 M.R.S. §

 6021 (establishing MDMR in part to “conserve and develop marine . . . resources”);

 Tarabochia v. Adkins, 766 F.3d 1115, 1123 (9th Cir. 2014) (“To be sure, protecting

 the fishery is an important governmental interest”)).

                          iii.      Necessary to Further Substantial Government
                                    Interest

        Proceeding to the second prong of the Burger test, Commissioner Keliher

 argues that the MDMR Rule is necessary to further the government’s substantial

 interest in the lobster fishery because, as stated in the Addendum, “the detailed data

 based on a one-ping-per-minute rate that will be collected from the electronic trackers

 is necessary to accurately characterizing activity in the fishery . . . which is critical to

 addressing current and future threats to the fishery and ensuring successful

 management through improved stock assessment.” Id. at 16 (citing Mot. to Dismiss,

 Attach 1., Addendum XXIX to Amend. 3 to the Am. Lobster Fishery Mgmt. Plan;

 Addendum IV to the Jonah Crab Fishery Mgmt. Plan § 2.1 (ECF No. 23-1) (Addendum

 XXIX)).   Further, the “current system of self-reported data lacks the accuracy,

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 reliability, and precision that would all [M]DMR and other fishery managers to

 characterize a fishery occurring over vast areas and far from shore.” Id. (citing

 Addendum XXIX § 2.1). He concludes by asserting that not only is MDMR required

 to implement the MDMR Rule pursuant to its obligations as a member of the ASMFC,

 but MDMR has also concluded, based on scientific evidence and its fishery

 management expertise, that the electronic tracking requirement is necessary to

 protect and manage the fishery. Id. Plaintiffs, he says, “have not alleged facts

 supporting a plausible inference to the contrary.” Id.

                        iv.       Functions as Warrant

       Commissioner Keliher argues that the MDMR Rule also satisfies the third

 prong of the Burger test because it “perform[s] the two basic functions of a warrant”

 by “[1] advis[ing] the owner of the commercial premises that the search is being made

 pursuant to the law and has a properly defined scope, and . . . [2] limit[ing] the

 discretion of the inspecting officers.” Id. (citing Burger, 482 U.S. at 703). Regarding

 the first element, Commissioner Keliher avers that the MDMR Rule “clearly puts

 covered lobstermen on notice that data regarding the location of their fishing vessels

 is being collected per the [MDMR] Rule’s terms.”         Id. at 16-17 (citing Tart v.

 Commonwealth of Mass., 949 F.2d 490, 498 (1st Cir. 1991) (finding adequate notice

 where the regulation informed commercial fishermen “that routine documentation

 checks might occur at any time, particularly when fishing in Commonwealth coastal

 waters or landing raw fish at Commonwealth ports”)). Turning to the second element,

 Commissioner Keliher says that the MDMR Rule “properly limits government



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 discretion by tracking only location data of licensed commercial fishing vessels.” Id.

 at 17. Citing cases in which courts found administrative searches to comply with this

 element, he asserts that the MDMR Rule is analogous to other administrative search

 regimes courts have deemed lawful. Id.

       Acknowledging that the MDMR Rule requires vessel location data to be

 collected “around-the-clock whenever a vessel is in operation,” Commissioner Keliher

 opines that this does not violate the Burger test: “the Burger [C]ourt . . . made clear

 that temporal limitations on administrative searches are only relevant to the extent

 they demonstrate that the administrative search regime ‘place[s] appropriate

 restraints upon the discretion of the inspecting officers.’” Id. (citing Burger, 482 U.S.

 at 711). Commissioner Keliher interprets the Supreme Court’s holding to mean that

 “timing restrictions for timing restrictions’ sake are not necessary,” and points to two

 cases where federal courts of appeal have approved administrative searches with no

 time limitations. Id. at 17-19 (citing Tart, 949 F.2d at 497-99; United States v. Ponce-

 Aldona, 579 F.3d 1218, 1226 (11th Cir. 2009)).

       Commissioner Keliher argues that            the MDMR Rule          “presents the

 circumstances identified in Tart and Ponce-Aldona.” Id. at 19. As in Tart, he asserts,

 the MDMR Rule’s collection of location data is “minimally intrusive in the context of

 the ‘entire regulatory scheme applicable to the commercial fishing industry,’” id.

 (citing Tart, 949 F.2d at 499), and is notably “less intrusive than the suspicionless

 boarding and search of a vessel, which is already authorized [in the lobster industry]

 under state and federal law.” Id. (citing 16 U.S.C. §§ 5101-5108; 50 C.F.R. Part 697;



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 46 C.F.R. ch. 1; 12-619 M.R.S.; 13-188 C.M.R. ch. 25; 12 M.R.S. § 6306(1)). In

 addition, he says, timing restrictions on the MDMR Rule’s electronic data collection

 would not be feasible because, like the commercial trucking industry at issue in

 Ponce-Aldona, commercial lobstering does not follow regular business hours,” id.

 (citing Ponce-Aldona, 579 F.3d at 1226), such that timing restrictions, or the ability

 of vessel owners to turn the tracker on and off at their discretion, would “seriously

 undermine the reliability and administrability of the entire data collection program.”

 Id.

       Further, Commissioner Keliher notes, the MDMR Rule takes steps to limit its

 data collection. See id. at 6-7. The Particle TrackerOne collects the position of the

 vessel once per minute while the vessel is moving, but only once every six hours when

 the vessel is moored or docked. Id. at 6 (citing Vessel Tracking Requirements at 1).

 In addition, he says, although the MDMR Rule makes it generally unlawful for license

 holders to fish for lobster without an installed and operating tracking device on their

 vessel, several exceptions apply: (1) the license holder is not required to keep the

 tracker externally powered (plugged in) when the vessel is moored or docked; (2) the

 device may be inoperative when the vessel is removed from coastal waters for an

 extended period of time; (3) the device may be inoperative for the purpose of being

 repaired or replaced; and (4) if the device fails and becomes inoperable, the license

 holder may continue fishing with approval from MDMR while the situation is

 addressed. Id. at 6-7 (citing Mot. to Dismiss, Attach. 2, Certificate of Authenticity §§

 (B)-(D) at § (C) (ECF No. 23-2) (MDMR Rule)).



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       Furthermore, Commissioner Keliher says, vessel location data is transmitted

 to the ACCSP, which maintains the SAFIS database. Id. at 7 (citing Compl. ¶ 62).

 Commissioner Keliher avers that “ACCSP has protected confidential information

 relating to fisheries—including self-reported Vessel Trip Report data—for years

 using the same electronic transmittal systems (approved by NMFS) and SAFIS

 database, as described in Addendum XXIX.” Id. (citing Addendum XXIX § 3.2.3).

 Further, he says, “the vessel location data is ‘designated as confidential through

 Maine law and regulation.’”      Id. (quoting Vessel Tracking Requirements at 2).

 Specifically, Commissioner Keliher continues, “Maine law requites that fisheries data

 be kept confidential and not be disclosed in a manner that permits identification of

 any person or vessel.” Id. (citing 12 M.R.S. § 6173). “[MDMR] regulations also

 require that publicly released data do not identify individual vessels or license

 holders.” Id. (citing 13-188 C.M.R. ch. 5).

                          v.      Reasonable Expectation of Privacy

       Based on the foregoing, Commissioner Keliher argues that the Plaintiffs’

 contention that the MDMR Rule violates their reasonable expectation of privacy is

 “unavailing” because the administrative search doctrine holds that a warrantless

 search of commercial premises in a closely regulated industry is reasonable within

 the meaning of the Fourth Amendment so long as it meets the requirements for an

 administrative search. Id. at 19-20 (citing Burger, 482 U.S. at 700).

       In response to Plaintiffs’ citation of Carpenter in support of an individual’s

 expectation of privacy “in the record of his physical movements” as captured through



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 cell-site location information, Commissioner Keliher responds “that case is entirely

 inapposite” because, first, Carpenter involved data collected as part of a criminal

 investigation and, second, the data at issue in Carpenter “provide[d] an intimate

 window into a person’s life, revealing not only his particular movements, but through

 them his familial, political, professional, religious, and sexual associations.” Id. at 20

 (citing Carpenter, 585 U.S. at 310-11).

       Commissioner Keliher next responds to Plaintiffs’ contention that the location

 of their lobster traps amounts to a “trade secret.” Id. (citing Compl. ¶ 3). He argues,

 first, that Plaintiffs “have not pleaded any facts supporting [this] general assertion,”

 and “it is difficult to comprehend how the location of Plaintiffs’ lobster traps could

 constitute a ‘secret’ considering that (1) traps must be marked for identification . . .

 and (2) traps are placed in the open ocean, where marker buoys are subject to visual

 identification by anyone in the vicinity.” Id. at 20-21 (citing Oliver v. United States,

 466 U.S. 170, 179 (1984) (noting that so-called “open fields” “do not provide the setting

 for those intimate activities that the [Fourth] Amendment is intended to shelter from

 government interference or surveillance”)). Second, Commissioner Keliher says that

 “every lawful administrative search may reveal to the government how an entity does

 business; the target of an administrative search is often precisely those documents

 and other materials containing such information.” Id. at 21 (citing Ricco Jonas, 24

 F.4th at 734). Third, he posits that Plaintiffs do not plausibly allege how the MDMR

 Rule, “which only exposes vessel-specific data to the government and keeps such data




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 confidential from the broader public, including fishing competitors,” will violate their

 expectation of privacy in their “trade secrets.” Id.

       In a footnote, Commissioner Keliher responds to Plaintiffs’ concern with the

 potential use of vessel location data in criminal or civil enforcement proceedings. Id.

 at 21 n. 22 (citing Compl. ¶ 86). He contends that “they have not pleaded any facts

 supporting a plausible claim to relief,” and “[b]inding precedent forecloses any

 argument that the use of information collected through an administrative search in

 separate enforcement proceedings renders an otherwise lawful administrative search

 unconstitutional.”     Id. (citing Burger, 482 U.S. at 704-05 (discussing an

 administrative search regime where business owners were subject to criminal

 penalties, loss of license, or civil fines for violations of the regulations the searches

 were conducted to enforce); Burger, 482 U.S. at 716 (“Nor do we think this

 administrative scheme is unconstitutional simply because, in the course of enforcing

 it, an inspecting officer may discover evidence of crimes, besides violations of the

 scheme itself”).

       Commissioner Keliher concludes that Plaintiffs have failed to plausibly allege

 the MDMR Rule’s tracking requirement exceeds a lawful administrative search of a

 closely regulated industry and asks the Court to dismiss Plaintiffs’ Fourth

 Amendment claim pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to

 state a claim on which relief can be granted. Id.




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                     b.     Count Two: Equal Protection

       Commissioner Keliher next addresses Plaintiffs’ contention that the MDMR

 Rule violates the equal protection clauses of the U.S. and Maine Constitutions

 because it is vague. Id. at 22. Noting first that a “void-for-vagueness” claim is usually

 analyzed under the Due Process Clause, id. at 22 n.23, Commissioner Keliher

 maintains that a rule is unconstitutionally vague “only when it ‘fails to provide a

 person of ordinary intelligence fair notice of what is prohibited[] or is so standardless

 that it authorizes or encourages seriously discriminatory enforcement.’” Id. at 22

 (citing United States v. Williams, 553 U.S. 285, 304 (2008)). Further, he says, “the

 Supreme Court has applied a less strict vagueness test to commercial regulation . . .

 [a]nd vagueness review is less exacting still where the law at issue carries no criminal

 penalties.” Id. at 22 (citing ACA Connects – Am.’s Commc’ns Assoc. v. Frey, 471 F.

 Supp. 3d 318, 330 (D. Me. 2020)).

       Turning to the case at hand, Commissioner Keliher contends that Plaintiffs’

 complaint does not identify “what terms of the [M]DMR Rule are unconstitutionally

 vague, in what way a person of ordinary intelligence would not have fair notice of

 what conduct the Rule prohibits, or how the Rule is so standardless as to encourage

 seriously discriminatory enforcement.” Id. Rather, he says, Plaintiffs say that the

 rule is impermissibly vague because “the consequences of violating it are unclear.”

 Id. at 22-23. To this, Commissioner Keliher responds that, “even assuming the

 precise penalties a person may incur from violating a rule are the subject of

 constitutional vagueness analysis, the consequences of violating this Rule are clearly



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 set out in State law.” Id. at 23. “Like many civil violations,” he says, the MDMR Rule

 “prohibits certain conduct, regardless of whether it is intentional.” Id. (citing MDMR

 Rule § (C)). He notes that, under Maine law, a violation of the MDMR Rule is a “civil

 violation for which a fine of not less than $100 for each violation may be adjudged.”

 Id. at 7 n.12 (citing 12 M.R.S. § 6174(3)).        A violation of the MDMR Rule,

 Commissioner Keliher claims, is thus “subject to the same process and procedures—

 including appellate procedures—as a violation of any other [M]DMR Rule.” Id. at 23.

 He further informs the Court that a civil violation of the M.R.S. “is subject to the due

 process provided through a court adjudication, and the [MDMR] may suspend a

 license after such adjudication.” Id. at 7 n.12 (citing 12 M.R.S. § 6351(1)(D)). He says

 12 M.R.S. § 6371(3)(A) alternatively provides that the MDMR may administratively

 suspend a license without a prior court adjudication based on the license holder’s

 commission of a marine resource violation; an administrative suspension is subject

 to procedural requirements and judicial review on appeal. Id. (citing 12 M.R.S. §§

 6371(3)(A), 6374). Commissioner Keliher concludes that “[i]t is simply not plausible

 that covered vessel owners are in the dark about the potential consequences of their

 conduct, especially considering that they operate in a highly regulated industry and

 can be expected to know the applicable regulations.” Id. at 23 (citing United States

 v. Facteau, 89 F.4th 1, 33 (1st Cir. 2023)).

       Based on the foregoing, Commissioner Keliher opines that the complaint

 “simply does not contain factual allegations that support a plausible void-for-




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 vagueness claim” and the Court should thus dismiss Count Two pursuant to Federal

 Rule of Civil Procedure 12(b)(6) for failure to state a claim. Id. at 24.

       C.     Amicus Curiae Atlantic States Marine Fisheries Commission’s
              Memorandum in Support of Defendant’s Motion to Dismiss

       The ASMFC submitted an amicus curiae memorandum in support of

 Commissioner Keliher’s motion to dismiss Count One. Amicus Mem. in Support of

 Mot. to Dismiss at 1.

              1.     Count One: The Fourth Amendment

       The ASMFC asserts that Plaintiffs’ Fourth Amendment argument, if accepted

 by the Court, “would severely hamper governments’ ability to manage fisheries in the

 public interest and to respond in an informed manner to the serious challenges and

 conflicts that often mark modern marine fishery management—and would cause that

 harm without sound support in Fourth Amendment precedent or principle.” Id.

       The ASMFC argues, first, that commercial fishing in marine waters “is, and

 has long been, a highly regulated activity” and “a privilege that comes with conditions

 and limitations to protect the public’s interests in maintaining sustainable fisheries,

 the marine environment, and other resources that could be affected by commercial

 fishing.” Id. at 1-2. Commercial permit holders, it continues, “reasonably understand

 that their activities on the water are subject to observation (including by law

 enforcement),” are typically required to “carry conspicuous markings on their vessels

 and on their gear,” and may also be required to allow a governmental agent or third-

 party observer onboard throughout a fishing trip to monitor catch and bycatch,




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 document marine mammal interactions, and ensure regulations compliance. Id. at

 2.

       Second, the ASMFC asserts that the Addendum’s requirement of licensees does

 not conform to the traditional premise of Fourth Amendment search cases, which is

 that the government will gain “access to ‘private’ things,” because the location of a

 vessel “required to be marked prominently with various identifiers” is not private.

 Id. In contrast with the “constant video surveillance continually ongoing in myriad

 workplaces (mass transit locations, banks, building lobbies, etc.),” the Addendum’s

 tracking requirement amounts to a limited intrusion which “matches the legitimate

 management needs but does not intrude unreasonably on any limited privacy

 interests.” Id.

       The ASMFC next emphasizes that it “did not establish this minimally

 intrusive requirement lightly or arbitrarily”; rather, it “had compelling reasons for

 wanting to correct a long-recognized gap in information about lobster fishing

 activity,” as “the [ASMFC] repeatedly explained in the lengthy public process that led

 to the Addendum’s adoption.” Id. at 3. Plaintiffs “barely acknowledge and never

 seriously try to refute the legitimacy or importance of the ASMFC’s purposes in

 establishing the monitoring requirement—or the direct way in which the monitoring

 program will serve those purposes,” the ASMFC avers. Id.

       Turning to Plaintiffs’ concerns as to data collection, the ASMFC points out that

 Plaintiffs bring a facial challenge against the MDMR Rule, despite “hav[ing] not




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 shown there is an imminent risk it will be unreasonable in any case, even their own.”

 Id. at 4 (emphasis in original). The ASMFC says:

         The theoretical harms that [Plaintiffs] raise are speculative and only
         arise based upon speculations about someone other than the Defendant
         doing something improper. For example, their concerns that – despite
         being kept in accord with procedures and by institutions that have
         handled such data successfully – data could be accidentally disclosed or
         misused, is entirely conjectural and disregards the robust and proven
         confidentiality regime that governs the data collecting already taking
         place in the program. Plaintiffs fail to adduce any real-world examples
         – whether from the pilot version of the program, from other jurisdictions
         where electronic tracking is in effect, or even from more intrusive fishery
         monitoring programs – to support their speculative, theoretical fears.

 Id. at 4-5.

         Based on the foregoing, the ASMFC urges the Court to reject the Plaintiffs’

 Fourth Amendment claim and grant Commissioner Keliher’s motion to dismiss. Id.

 at 5.

         D.    The Plaintiffs’ Opposition

         The Plaintiffs oppose Commissioner Keliher’s motion to dismiss and the

 ASMFC’s amicus curiae memorandum in support of dismissal. Pls.’ Opp’n at 1.

         Before addressing the Defendant’s arguments for dismissal of the three counts

 included in their complaint, the Plaintiffs first reassert their position that “[t]he

 constant monitoring required by the MDMR Rule is what can only be characterized

 as a drastic departure from past reporting requirements.” Id. at 2. The data collected

 pursuant to the MDMR Rule, they say, “will be uploaded into a digital map interface

 that then can be queried by any number of ‘authorized federal and state

 administrators,’ as well as other ‘state or federal entities with confidential data



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 access,’ to ‘query and visualize trip locations’ indiscriminately and apparently for any

 purpose.” Id. (citing Addendum XXIX § 3.2.3). Indeed, they say, recent reports

 “suggest that this data has already been provided to students at Maine’s public

 universities studying the fishery, as well as to the U.S. Department of Energy’s

 National Renewable Energy Laboratory as part of its efforts to develop floating wind

 energy projects in the Gulf of Maine.” Id. (citing Pls.’ Opp’n, Attach. 1, Considerations

 for Floating Wind Energy Dev. in the Gulf of Me. at 10 (ECF No. 24-1) (NREL Rep.)

 (describing how “[e]fforts are being made to gain more knowledge around commercial

 fishing activities in federal waters including through a new reporting requirement

 for lobstering in federal waters.”)).

       With this preface, the Plaintiffs turn to the arguments made by Commissioner

 Keliher in his motion to dismiss.

            1.       Federal Rule of Civil Procedure 12(b)(1)

                     a.     Count Three: The Maine APA

       In response to Commissioner Keliher’s argument that Count Three must be

 dismissed for lack of subject matter jurisdiction pursuant to the Eleventh

 Amendment’s bar on federal courts granting relief against state officials for violations

 of purely state law, the Plaintiffs assert that Commissioner Keliher “cites no

 authority for [its] proposition” that the MDMR Rule “does not arise under federal

 law.” Id. at 4 (citing Mot. to Dismiss at 9). Plaintiffs contend that “[t]he MDMR Rule

 specifically incorporates the requirements of federal Addendum XXIX,” and “specifies

 that it will apply to all ‘federally permitted’ lobster license holders regardless of



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 whether or not they are fishing within MDMR’s jurisdiction.” Id. (citing 13 C.M.R.

 188, ch. 25, § 98). Thus, Plaintiffs contend, their challenge to the MDMR Rule

 “necessarily and obviously exceeds the scope of a simple challenge to a state action

 under a purely state regulatory scheme,” because it concerns “the adoption of a

 federal policy, promulgated under a federal rule, that is aimed solely at federally

 permitted fishing vessels for the purpose of protecting a federal fishery.” Id. at 4-5

 (emphasis in original).

       Finally, Plaintiffs remind the Court that “[w]hile the Eleventh Amendment

 prohibits a party from bringing suit against a state in federal court, it does not

 prohibit a party from bringing suit against a state officer in federal court for

 prospective declaratory or injunctive relief under federal law.”          Id. (quoting

 Asociación de Suscripción Conjunta del Seguro de Responsabilidad Obligatorio v.

 Flores Galarza, 484 F.3d 1, 24 (1st Cir. 2007) (internal citations omitted)).

            2.       Federal Rule of Civil Procedure 12(b)(6)

                     a.     Count One: The Fourth Amendment

       Plaintiffs contend the Court should deny Commissioner Keliher’s motion to

 dismiss as to Count One because their complaint “properly pleads a violation of the

 Plaintiffs’ Fourth Amendment rights to be free from unreasonable searches and

 seizures.” Id. at 5 (capitalization altered). The Plaintiffs argue that “viewing the

 [MDMR] Rule in [its] full context reveals it as both unnecessary to achieve its

 overarching purpose and as having a scope greatly exceeding that permitted for a

 constitutional administrative search.” Id. at 6.



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       Plaintiffs first address Commissioner Keliher’s argument that they have a

 “greatly reduced expectation of privacy when engaging in an industry that is subject

 to such pervasive regulation.” Id. (quoting Mot. to Dismiss at 15). To this, they argue

 that “[w]hile an expectation of privacy may admittedly be reduced in a closely

 regulated industry, this does not equate to a non-existent expectation of privacy.” Id.

 (citing United States v. Hamad, 809 F.3d 898, 904 (7th Cir. 2016)) (emphasis added

 by Plaintiffs). In addition, they argue their reasonable expectation of privacy is

 heightened in the present case because the scope of MDMR’s search extends beyond

 commercial vessels fishing for lobsters in federal waters, “the only closely-regulated

 industry the [MDMR] Rule seeks to govern,” to encompass the tracking of vessels

 “while they are docked or used for any number of other utterly unregulated purposes.”

 Id.

       Turning to the Burger test, the Plaintiffs argue that the MDMR Rule is invalid

 because the “administrative search” the rule authorizes is not necessary to further a

 substantial government interest. Id. at 6-7. While Plaintiffs concede that MDMR

 has a substantial interest in “regulating the lobster fishery and ensuring its long-

 term viability,” Mot. to Dismiss at 15, they aver that the MDMR Rule fails for lack of

 necessity to protect the long-term health of the lobster fishery. Pls.’ Opp’n at 7. In

 response to MDMR’s assertion that the one-ping-per-minute rate “is necessary to

 accurately characterize[e] activity in the fishery, including the locations and density

 of commercial fishing gear, which ‘is critical to addressing current and future threats

 to the fishery and ensuring successful management through improved stock



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 assessment,’” id. (citing Mot. to Dismiss at 16), Plaintiffs insist that “[t]he ASMFC’s

 own statistics . . . reveal that the lobster fishery currently is not in danger of being

 overfished.” Id. at 7. Plaintiffs characterize MDMR’s description of “future threats”

 as an “inherently vague allegation” for which MDMR “has made no effort to identify

 . . . , let alone articulate how its existing data collection efforts . . . are insufficient to

 address these ‘threats.’” Id.

        Plaintiffs also assert that the MDMR Rule fails the Burger standard for a

 reasonable search because it is not sufficiently limited in scope. Id. It is unclear,

 Plaintiffs assert, what “current threats” exist that “could justify the near-constant

 surveillance of Maine lobstermen and women that could not be addressed through

 less intrusive means (such as limiting tracking to vessels fishing for lobsters in

 federal waters or to the lesser ‘ping rates’ employed by trackers in other fisheries like

 the scallop fishery).” Id. at 8. Acknowledging MDMR’s argument that its rule is

 necessary because “common sense” supports that a less-intrusive method “would

 compromise reliability and increase the chances of operator error or intentional

 evasion,” Mot. to Dismiss at 16, the Plaintiffs say this “flies in the face of evidence

 that Maine lobster fishermen have a history of regulatory compliance.” Pls.’ Opp’n at

 8.

        Relatedly, Plaintiffs argue the “indefinite” “duration of the search” shows that

 the MDMR Rule “does not serve the same functions as a warrant.”                      Id. at 9

 (capitalization altered). “Unlike traditional warrants,” they say, “the scope of the

 ‘warrant’ authorized by the [MDMR] Rule is almost limitless.”                 Id.   Plaintiffs



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 distinguish the MDMR Rule from the cases cited by MDMR on this basis, submitting

 (1) “the searches undertaken in those cases are best described as ‘spot checks’

 narrowly designed to enforce specific regulations, and each search was only approved

 when the premises searched were actually engaged in the regulated activity,” id. at

 10 (citing Burger, 482 U.S. 691), and (2) the agencies permitted to conduct the search

 in the cases cited by MDMR were limited to those authorized to regulate the industry

 itself. Id. at 10.

                      b.   Count Two: Equal Protection

        Plaintiffs reassert that “questions remain about how and to what extent

 MDMR will enforce the [MDMR] Rule.” Id. at 11. Amendment 3 underlying the

 Addendum allows MDMR and other agencies to use the data collected pursuant to

 the MDMR Rule for “offshore enforcement” purposes; however, Plaintiffs say, “despite

 all of the ink spilled in defense of the [MDMR] Rule, MDMR still fails to define what

 it means by ‘offshore enforcement’ and whether this [two]-word phrase is limited to

 regulations that MDMR is tasked with enforcing or whether it extends to regulations

 promulgated by other agencies.”      Id.   “Because the permutations are endless,”

 Plaintiffs contend, the MDMR Rule is “‘so standardless as to encourage

 discriminatory enforcement’ because it lacks articulated standards and ‘fails to

 provide a person of ordinary intelligence fair notice of what is prohibited.’”     Id.

 (quoting Mot. to Dismiss at 24).

        Based on the foregoing, Plaintiffs request that the Court deny Commissioner

 Keliher’s motion to dismiss as to all three counts in their complaint. Id.



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         E.      Commissioner Keliher’s Reply 14

         As a preliminary matter, Commissioner Keliher asserts that Plaintiffs’

 complaint and opposition to his motion to dismiss “blatantly misquote” the

 Addendum and “thus mischaracterize” its purpose and the purpose of the MDMR

 Rule. Def.’s Reply. at 2. He continues to say that the Addendum explains that

 collection of high-resolution data regarding activities in the American lobster fishery

 is necessary to respond to various challenges facing the industry, “including, but not

 limited to, the development of offshore renewable energy and the inevitable

 imposition on the industry of further whale risk reduction measures.” Id. (citing

 Addendum XXIX § 2.1). However, he says, the Addendum and the MDMR Rule “in

 no way purport to promote the development of offshore renewable energy

 development or the implementation of whale risk reduction efforts.”                                 Id.

 Commissioner Keliher says, “Plaintiffs take one section of the Addendum out of

 context to assert that data collected pursuant to the [M]DMR Rule will be accessed

 ‘indiscriminately and apparently for any purpose’,” and argues this “assertion is

 squarely contradicted by the Addendum itself.” Id. (quoting Pls.’ Opp’n at 2) (citing

 Addendum XXIX §§ 1.0, 2.1).




 14      Commissioner Keliher informs the Court that his reply incorporates his opposition to the
 motion for preliminary injunction (ECF No. 16) and “limits [itself] to addressing Plaintiffs’ few new
 substantive arguments and correcting misstatements presented in their Opposition [to dismissal].”
 Def.’s Reply at 1.

          The Court accordingly compared Commissioner Keliher’s reply to the Plaintiffs’ opposition to
 the motion to dismiss with Commissioner Keliher’s opposition to the motion for preliminary injunction.
 However, the Court did not find any arguments in Commissioner Keliher’s opposition to injunctive
 relief that did not also appear in his reply in the motion to dismiss sequence. Thus, the Court confines
 its restatement of Defendant’s Reply to the assertions raised in that submission.

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        Commissioner Keliher similarly asserts that the NREL Report attached by

 Plaintiffs to their opposition to the motion to dismiss is “entirely inapposite,” arguing

 it “has no bearing on Defendant’s Motion to Dismiss,” “was produced by two entities

 not involved with [the Addendum] or the [M]DMR Rule,” and its “distinct purpose” is

 to discuss considerations for developing offshore wind energy. Id. at 3 (citing NREL

 Rep. at iv, vii). To the extent the NREL Report discusses the Addendum, he avers, it

 is as an example of “investments in data collection for lobster and other commercial

 fishing activities [to] begin to close important ocean-use knowledge gaps,” id. (citing

 NREL Rep. at 40); this “does not in any way support Plaintiffs’ suggestion that data

 collected pursuant to the [M]DMR Rule is being shared with ‘students.’” Id. (citing

 Pls.’ Opp’n at 2).

              1.        Federal Rule of Civil Procedure 12(b)(1)

                        a.     Count Three: The Maine APA

        Turning to Plaintiffs’ response to the motion to dismiss Count Three for lack of

 subject matter jurisdiction, Commissioner Keliher argues that “Plaintiffs continue to

 fail to grapple with the fact that Count Three alleges that Defendant has violated

 state law, Maine’s [APA].” Id. at 4 (emphasis in original). Commissioner Keliher

 argues that “[o]n its face, Count III asks a federal court to order a state agency to

 comply with state law.” 15 Id. Precedent is clear that the Court lacks jurisdiction over




 15     Commissioner Keliher additionally opines that Plaintiffs’ argument is inconsistent with their
 characterization of the MDMR Rule as “involve[ing] the adoption of a federal policy, promulgated
 under a federal rule.” Def.’s Reply at 4 (citing Pls.’ Opp’n at 4-5).

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 this claim, he says, and “Plaintiffs have not cited a single case supporting abrogation

 here of this principle of black letter law.” 16 Id.

               2.        Federal Rule of Civil Procedure 12(b)(6)

                         a.      Count One: The Fourth Amendment

         Addressing Plaintiffs’ response in opposition to his motion to dismiss Count

 One, Commissioner Keliher argues the Plaintiffs “substantively shift away from the

 Fourth Amendment theory pleaded in their complaint, to no avail.” Id. (capitalization

 altered). He opines that while Plaintiffs’ complaint focused on their privacy interests

 in the location of their lobster traps (“that is, their privacy interests while engaging

 in commercial lobstering”), their opposition to the motion to dismiss instead focuses

 on the implications of the tracking requirement when their vessels are being used for

 purposes other than commercial lobstering. Id. at 4-5. This shift, he says, “does not

 help Plaintiffs, for two reasons”: first, in assessing a Rule 12(b)(6) motion, a court

 must “assume the truth of all well-pleaded facts and indulge all reasonable inferences

 that fit the plaintiff’s stated theory of liability.” Id. at 5 (quoting Redondo-Borges v.

 U.S. Dep’t of Hous. & Urban Dev., 421 F.3d 1, 5 (1st Cir. 2005) (emphasis added by

 Defendant). “This Court therefore must assess the plausibility of the theory pleaded

 in Plaintiffs’ Complaint,” which is that “the [M]DMR Rule violates the Fourth




 16      Commissioner Keliher asserts that Plaintiffs’ citation to cases involving Burford abstention,
 including Chico Serv. Station, Inc., 633 F.3d 20, are inapposite. Def.’s Reply at 4, n.4. Plaintiffs’
 citation to Flores Galarza, 484 F.3d 1, he says, “also is inapposite because that case dealt with a federal
 court’s jurisdiction to order relief ‘against a state officer … under federal law.” Id. (citing Flores
 Galarza, 484 F.3d at 24) (emphasis added by Defendant).

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 Amendment because it impinges on Plaintiffs’ reasonable expectation of privacy while

 engaging in commercial lobstering.” Id. (emphasis added by Defendant).

        Second, he says the arguments Plaintiffs advance in their opposition “have

 failed to plausibly plead” that either Plaintiffs specifically, or federally permitted

 commercial lobstering vessels generally, typically use their licensed lobstering

 vessels for non-lobstering purposes such that the MDMR Rule raises either “accuracy

 concerns (when a vessel is used for commercial fishing purposes other than

 lobstering)” or “non-incidental privacy concerns when a vessel is used for non-

 commercial fishing purposes).” Id. (emphasis in original). On the issue of accuracy,

 Commissioner Keliher says that Plaintiffs have not, for example, pleaded that scallop

 fishing by commercial lobstering vessels is so prevalent, and that the movement

 patterns of vessels while scalloping is so indistinguishable from the patterns of

 vessels while lobstering, that the American lobster fishery data “will be substantially

 inaccurate.” Id. Regarding non-incidental privacy concerns, he contends “it is simply

 not plausible that grocery runs or a family picnic in a cove would be misinterpreted

 as lobstering.” Id. (citing Pls.’ Opp’n at 8). Commissioner Keliher adds that the

 MDMR adopted the ping-per-minute data collection rate “precisely because it best

 allows for distinguishing between the distinctive movement pattern of setting and

 hauling lobster traps and other activities, such as ‘steaming’ (transitioning) and

 remaining stationary.” Id. at 5-6 (citing Addendum XXIX at §§ 2.2.1, 2.2.5; 15-16, 36-

 37).




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       Commissioner Keliher further contends privacy concerns miss the point,

 arguing that “Plaintiffs’ newfound emphasis on their purported privacy interests

 while not engaging in commercial fishing is misplaced because the premises in

 question—commercial fishing vessels—already may be boarded and inspected at any

 time by government authorities without reasonable suspicion of a violation.” Id. at 6

 (citing Mot. to Dismiss at 15) (emphasis added by Defendant). Commissioner Keliher

 characterizes the Plaintiffs’ insistence of their right to a heightened expectation of

 privacy when using their vessels for non-commercial purposes as “simply false.” Id.

       Responding to Plaintiffs’ argument that active management of the American

 lobster fishery is unnecessary because the fishery “currently is not in danger of being

 overfished,” id. (citing Pls.’ Opp’n at 7), Commissioner Keliher says Plaintiffs’ citation

 in support is a 2020 stock assessment, and “it is axiomatic that the state of a fishery

 changes over time due to harvesting practices, natural conditions, and anthropogenic

 environmental impacts, like climate change.” Id. In addition, he says, Plaintiffs “are

 entirely off-base in suggesting that the future imposition of regulations concerning

 right whales is not a legitimate concern.” Id. (citing Pls.’ Opp’n at 8).

                     b.     Count Two: Equal Protection

       Turning to Count Two, Commissioner Keliher says that although Plaintiffs

 “speculate about future uses of the location data collected pursuant to the [M]DMR

 Rule,” they “have not pleaded that the [M]DMR fails to provide affected lobstermen

 with fair notice of what the Rule itself requires.” Id. at 6-7 (emphasis in original). The

 MDMR Rule, he states, “plainly requires installation of tracking devices on certain



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 licensed lobster vessels and prohibits disabling those devices while the vessels are in

 operation.” Id. at 7 (citing MDMR Rule §§ (B)-(D)). Thus, Plaintiffs’ “[s]peculation

 about future uses of the location data collected by the tracking devices is not properly

 a part of the constitutional vagueness analysis regarding the [M]DMR Rule.” Id.

       Based on the foregoing, Commissioner Keliher requests that the Court grant

 his motion and order the dismissal of the Plaintiffs’ complaint.

 IV.   MOTION TO DISMISS LEGAL STANDARD

       A.     Federal Rule of Civil Procedure 12(b)(1)

       “A motion to dismiss an action under Rule 12(b)(1) . . . raises the fundamental

 question whether the federal district court has subject matter jurisdiction over the

 action before it.” United States v. Lahey Clinic Hosp., Inc., 399 F.3d 1, 8 n.6 (1st Cir.

 2005) (internal citation omitted). “The burden falls on the plaintiff to clearly allege

 facts demonstrating that he is a proper party to invoke federal jurisdiction.” Dubois

 v. U.S. Dep’t of Agric., 102 F.3d 1273, 1281 (1st Cir. 1996) (citation and internal

 quotation marks omitted); see also Me. Council of the Alt. Salmon Fed’n v. Nat’l

 Marine Fisheries Serv. of the Nat’l Oceanic Atmospheric Admin., 203 F. Supp. 3d 58,

 75 (D. Me. 2016) (“The plaintiff, as the party asserting subject matter jurisdiction,

 has the burden of demonstrating its existence”); Fábrica de Muebles J.J. Álvarez,

 Incorporado v. Inversiones Mendoza, Inc., 682 F.3d 26, 33-34 (1st Cir. 2012) (“The

 party asserting jurisdiction has the burden of demonstrating the existence of federal

 jurisdiction”). In ruling on a Rule 12(b)(1) motion, the Court “must construe the

 complaint liberally, treating all well-pleaded facts as true and indulging all



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 reasonable inferences in favor of the plaintiff.” Aversa v. United States, 99 F.3d 1200,

 1209-10 (1st Cir. 1996). “If the Court determines at any time that it lacks subject-

 matter jurisdiction, the court must dismiss the action.” FED. R. CIV. P. 12(h)(3).

        B.      Federal Rule of Civil Procedure 12(b)(6)

        Federal Rule of Civil Procedure 12(b)(6) requires dismissal of a complaint that

 “fail[s] to state a claim upon which relief can be granted.” FED. R. CIV. P. 12(b)(6). To

 state a claim, a complaint must contain, at minimum, “a short and plain statement

 of the claim showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). In

 other words, a complaint must contain “sufficient factual matter, accepted as true, to

 ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,

 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is

 facially plausible when “the plaintiff pleads factual content that allows the court to

 draw the reasonable inference that the defendant is liable for the misconduct

 alleged.” Id. (citing Twombly, 550 U.S. at 556). Plausible means “‘something more

 than merely possible’ or ‘merely consistent with a defendant’s liability.’”

 Germanowski v. Harris, 854 F.3d 68, 71-72 (1st Cir. 2017) (internal citation omitted)

 (quoting Schatz, 669 F.3d at 55); Ocasio-Hernández v. Fortuño-Burset, 640 F.3d 1, 11

 (1st Cir. 2011) (quoting Iqbal, 556 U.S. at 678). Evaluating the plausibility of a claim

 is a “‘context-specific’ job that compels [judges] ‘to draw on’ [their] ‘judicial experience

 and common sense.’” Schatz, 669 F.3d at 55 (quoting Iqbal, 556 U.S. at 679).

        This is a “two-step analysis.” Cardigan Mountain Sch. v. N.H. Ins. Co., 787

 F.3d 82, 84 (1st Cir. 2015). “First, the court must distinguish ‘the complaint’s factual



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 allegations (which must be accepted as true) from its conclusory legal allegations

 (which need not be credited).’” García-Catalán, 734 F.3d at 103 (quoting Morales-

 Cruz, 676 F.3d at 224; see also Schatz, 669 F.3d at 55 (stating that a court may “isolate

 and ignore statements in the complaint that simply offer legal labels and conclusions

 or merely rehash cause-of-action elements”). “Second, the court must determine

 whether the factual allegations are sufficient to support ‘the reasonable inference

 that the defendant is liable for the misconduct alleged.’” García-Catalán, 734 F.3d at

 103 (quoting Haley v. City of Boston, 657 F.3d 39, 46 (1st Cir. 2011)).

 V.    MOTION TO DISMISS DISCUSSION

       A.     Federal Rule of Civil Procedure 12(b)(1)

              1.     Count Three: The Maine APA

       In its entirety, the Eleventh Amendment to the U.S. Constitution states: “The

 Judicial power of the United States shall not be construed to extend to any suit in

 law or equity, commenced or prosecuted against one of the United States by Citizens

 of another State, or by Citizens or Subjects of any Foreign State.” U.S. CONST. amend.

 XI.

       In Hans v. Louisiana, 134 U.S. 1 (1890), the Supreme Court “determined that

 federal jurisdiction over suits against unconsenting States ‘was not contemplated by

 the Constitution when establishing the judicial power of the United States.’ In short,

 the principle of sovereign immunity is a constitutional limitation on the federal

 judicial power established in Art. III.” Pennhurst State Sch. & Hosp. v. Halderman,

 465 U.S. 89, 98 (1983) (internal citations omitted) (quoting Hans, 134 U.S. at 1); see



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 also Alden v. Maine, 527 U.S. 706, 728-29 (1999) (“The Eleventh Amendment

 confirmed, rather than established sovereign immunity as a constitutional principle;

 it follows that the scope of the States’ immunity from suit is demarcated not only by

 the text of the Amendment alone but by fundamental postulates implicit in

 constitutional design”).    The Supreme Court’s “decisions [] establish that ‘an

 unconsenting State is immune from suits brought in federal courts by her own

 citizens as well as by citizens of another state.’” Pennhurst, 465 U.S. at 100 (quoting

 Emps. v. Missouri Pub. Health Dep’t, 411 U.S. 279, 280 (1973)). “This jurisdictional

 bar applies regardless of the nature of the relief sought.” Id.

       Given the “vital role of the doctrine of sovereign immunity in our federal

 system,” the Supreme Court has “required an unequivocal expression of congressional

 intent to ‘overturn the constitutionally guaranteed immunity of the several States.’”

 Id. at 99 (quoting Quern v. Jordan, 440 U.S. 332, 342 (1979)). Otherwise, “a State

 may at its pleasure waive its sovereign immunity by consenting to suit.” Coll. Savs.

 Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 670 (1999).

       The Maine Department of Marine Resources is not named in the complaint,

 but Commissioner Keliher is sued in his official capacity as Commissioner of the

 department. “The general rule is that relief sought nominally against an officer is in

 fact against the sovereign if the decree would operate against the latter.” Id. at 101

 (quoting Hawaii v. Gordon, 373 U.S. 57, 58 (1963) (per curiam)); see also Monell v.

 Dep’t of Soc. Servs., 436 U.S. 658, 690 n.55 (1978) (official capacity suits are “another

 way of pleading an action against an entity of which an officer is an agent”).



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       “The doctrine of Ex parte Young, which ensures that state officials do not

 employ the Eleventh Amendment as a means of avoiding compliance with federal

 law, is regarded as carving out a necessary exception to Eleventh Amendment

 immunity.” P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 146

 (1993) (discussing Ex parte Young, 209 U.S. 123 (1908)). But this “exception is

 narrow.” Id. (citing Green v. Mansour, 474 U.S. 64, 73 (1985); Cory v. White, 457 U.S.

 85, 90-91 (1982)).

       The Supreme Court explained, “[t]he theory of [Ex parte Young] was that an

 unconstitutional enactment is ‘void’ and therefore does not ‘impart to [the officer] any

 immunity from responsibility to the supreme authority of the United States.’”

 Pennhurst, 465 U.S. at 102 (third alteration in original) (quoting Ex parte Young, 209

 U.S. at 160). The Pennhurst Court continued, “[s]ince the State could not authorize

 the action, the officer was ‘stripped of his official or representative character and

 [was] subjected to the consequences of his official conduct’” in Ex parte Young. Id.

 (quoting Ex parte Young, 209 U.S. at 160).

       Following the reasoning in Ex parte Young, the Supreme Court held in

 Edelman v. Jordan, 415 U.S. 651 (1974) “that when a plaintiff sues a state official

 alleging a violation of federal law, the federal court may award an injunction that

 governs the official’s future conduct.” Pennhurst, 465 U.S. at 103. This is the doctrine

 pursuant to which the Plaintiffs bring Count Three.




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       In Pennhurst, the Supreme Court was faced with “the question [of] whether a

 federal court may award injunctive relief against state officials on the basis of state

 law.” 465 U.S. at 91. It answered no. The Pennhurst Court wrote:

       A federal court’s grant of relief against state officials on the basis of state
       law, whether prospective or retroactive, does not vindicate the supreme
       authority of federal law. On the contrary, it is difficult to think of a
       greater intrusion on state sovereignty than when a federal court
       instructs state officials on how to conform their conduct to state law.
       Such a result conflicts directly with the principles of federalism that
       underlie the Eleventh Amendment. We conclude that Young and
       Edelman are inapplicable in a suit against state officials on the basis of
       state law.

 Id. at 106. The Supreme Court continued, “Larson thus made clear that, at least

 insofar as injunctive relief is sought, an error of law by state officers acting in their

 official capacities will not suffice to override the sovereign immunity of the State

 where the relief effectively is against it.” Pennhurst, 465 U.S. at 113 (citing Larson

 v. Domestic & Foreign Com. Corp., 337 U.S. 682, 690, 695 (1949)).

       On this preliminary point, the parties disagree as to whether the Plaintiffs

 seek relief under state or federal law. Commissioner Keliher asserts that Plaintiffs

 seek relief for a violation of state law, and the Court must dismiss Count Three

 pursuant to Federal Rule of Civil Procedure 12(b)(1) because the Eleventh

 Amendment to the U.S. Constitution grants sovereign immunity to the MDMR as a

 state entity. Mot. to Dismiss at 9-10. The Eleventh Amendment, Commissioner

 Keliher says, “denies federal courts jurisdiction to award relief against state officials

 based upon violations of state law.” Id. at 9 (citing Guillemard-Ginorio, 585 F.3d at

 529). When a plaintiff asks a federal court to compel state officers to comply with



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 state law, Commissioner Keliher says that “the only appropriate response is to

 dismiss the state law claims . . . even in a suit also bringing claims grounded in

 federal law.” Id. (citing Cuesnongle, 835 F.2d at 1497) (“If the plaintiff wishes the

 federal court to address the federal claims, bifurcation will be the only option.”);

 Pennhurst, 465 U.S. at 121 (“neither pendent jurisdiction nor any other basis of

 jurisdiction may override the Eleventh Amendment”)).

       Plaintiffs, for their part, respond that their challenge to the MDMR Rule

 “necessarily and obviously exceeds the scope of a simple challenge to a state action

 under a purely state regulatory scheme because it involves the adoption of a federal

 policy, promulgated under a federal rule, that is aimed solely at federally permitted

 fishing vessels for the purpose of protecting a federal fishery.” Pls.’ Opp’n at 4-5

 (emphasis in original). Commissioner Keliher replies that “Plaintiffs continue to fail

 to grapple with the fact that Count [Three] alleges that Defendant has violated state

 law, Maine’s [APA].” Def.’s Reply at 4 (emphasis in original).

       The Court agrees with Commissioner Keliher. Although a court considering a

 Rule 12(b)(1) motion “must construe the complaint liberally, treating all well-pleaded

 facts as true and indulging all reasonable inferences in favor of the plaintiff,” Aversa,

 99 F.3d at 1209-10, the Court sees it as decisive that Plaintiffs themselves, in their

 Complaint, classify Count Three as a “violation of the Maine Administrative

 Procedure Act (5 M.R.S. 8058).” Compl. at 26. The Maine APA is a Maine state law.

 Larson and Pennhurst thus make clear that Commissioner Keliher, in his official

 capacity, insofar as the Plaintiffs are suing for injunctive relief pursuant to a



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 challenge to state law, has sovereign immunity; thus, Commissioner Keliher cannot

 be sued absent the state consenting to suit or Congress unequivocally expressing

 their congressional intent to abrogate the State’s immunity.

        14 M.R.S. § 8818 states “[n]othing in this chapter or any other provision of

 state law shall be construed to waive the rights and protections of the State under

 the Eleventh Amendment to the United States Constitution, except where such

 waiver is explicitly stated by law.” In the case at bar, the Plaintiffs do “not direct us

 to any law to the contrary, nor do they argue that the [State] has waived its immunity

 by any other means.” See Diaz-Fonseca v. Puerto Rico, 451 F.3d 13, 34 (1st Cir. 2006).

 The Plaintiffs also have not provided any evidence of an unequivocal congressional

 intent to overturn the state of Maine’s immunity.

        Accordingly, the Court concludes Count Three is barred by state sovereign

 immunity and the Court therefore lacks jurisdiction to enjoin Commissioner Keliher

 acting in his official capacity based on an alleged misinterpretation of state law. 17

 Thus, the Court grants the Defendant’s motion to dismiss Count Three.


 17      The Court is aware of the United States Supreme Court’s recent holding in Loper Bright
 Enters. v. Raimondo, 144 S. Ct. 2244 (June 28, 2024), which similarly concerned a rule promulgated
 pursuant to the MSA. See Loper Bright, 144 S. Ct. at 2254-57. Although the parties do not raise Loper
 Bright in their motions to this Court (understandably, as the Supreme Court published its decision
 after parties submitted the two present motions) and also chose to not amend their motions to
 incorporate Loper Bright, the Court nonetheless considered whether Loper Bright may be decisive in
 this case, as the Court is, of course, bound by the holdings of the United States Supreme Court.

         In Loper Bright, Atlantic herring fishermen argued that a rule promulgated by the National
 Marine Fisheries Service (NMFS) pursuant to the MSA unconstitutionally exceeded the bounds of
 what the MSA empowers the NMFS to do. Id. at 2255-56. The District Court granted summary
 judgment to the Government, concluding that the MSA authorized the Rule, but noting that “even if
 these petitioners’ ‘arguments were not enough to raise an ambiguity in the statutory text,’ deference
 to the agency’s interpretation would be warranted under Chevron,” id. at 2256 (quoting Loper Bright
 Enters. v. Raimondo, 544 F. Supp. 3d 82, 107 (D.D.C. 2021) (citing Chevron U.S.A. Inc. v. National
 Resources Defense Council, Inc., 467 U.S. 837 (1984)); the Court of Appeals for the D.C. Circuit

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        B.      Federal Rule of Civil Procedure 12(b)(6)

        The Court begins with a preliminary statement on the scope of the record. “[A]

 motion to dismiss under Rule 12(b)(6) generally provides no occasion upon which to

 consider documents other than the complaint.” Doe v. Pawtucket Sch. Dep’t, 969 F.3d

 1, 8 (1st Cir. 2020); see also James D. Julia, Inc. v. Dan Murphy Auctions, LLC, No.

 1:21-cv-00025-JAW, 2021 U.S. Dist. LEXIS 115124, at *21 (D. Me. June 21, 2021)

 (“Ordinarily, a court ruling on a motion to dismiss may only consider whether the

 factual allegations within the four corners of the plaintiff’s complaint state a plausible

 claim for relief”). Here, the Plaintiffs attach the Addendum as an exhibit to the

 complaint, Addendum XXIX, and refer to, but do not attach, the MDMR Rule. See

 Compl. Commissioner Keliher did, however, attach the MDMR Rule to his motion to

 dismiss. MDMR Rule. The parties have submitted arguments about the language

 of the Addendum and the MDMR Rule in favor of and against the pending motion to

 dismiss, and the Court has accepted the authenticity of those documents for purposes

 of ruling on the motion. See Beddall v. State St. Bank & Tr. Co., 137 F.3d 12, 17 (1st

 Cir. 1998) (when, as now, “a complaint’s factual allegations are expressly linked to—


 affirmed. Loper Bright Enters. v. Raimondo, 45 F.4th 359, 370 (D.C. Cir. 2022). The Supreme Court
 reversed, overturning the doctrine of Chevron deference. Loper Bright, 144 S. Ct. at 2273 (“Chevron
 is overruled”).

          This Court concludes that Loper Bright is distinguishable from the claims the parties raised
 in their motions, and it does not rely on Loper Bright in ruling on Commissioner Keliher’s motion to
 dismiss. Loper Bright involved a question of statutory interpretation; more specifically, whether an
 agency’s rulemaking was lawful, pursuant to the agency’s understanding of the authority granted to
 it by the Magnuson-Stevens Act – a federal law. While Plaintiffs in the present case argue that the
 MDMR Rule violates the Maine APA for being both arbitrary and capricious and contrary to law, the
 Maine APA is a state law, not a federal one. Because the Court concludes that it does not have subject
 matter jurisdiction over Count Three pursuant to the Eleventh Amendment, it does need to (and, in
 fact, cannot) consider whether MDMR’s interpretation of their authority in promulgating the MDMR
 Rule was unlawful in violation of the Maine APA.

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 and admittedly dependent upon—a document (the authenticity of which is not

 challenged), that document effectively merges into the pleadings and the trial court

 can review it in deciding a motion to dismiss under Rule 12(b)(6)”).

         The claims currently before the Court turn on the terms of the Addendum and

 the MDMR; thus, the Court considers the Addendum attached by the Plaintiffs and

 the MDMR Rule attached by the Defendant, both of which the parties agree are

 authentic without challenge.

                 1.      Count One: The Fourth Amendment 18

         The Fourth Amendment protects “[t]he right of the people to be secure in their

 persons, houses, papers, and effects, against unreasonable searches and seizures” and

 provides that “no Warrants shall issue, but upon probable cause.”                           U.S. CONST.

 amend. IV. The Supreme Court has repeatedly held that “searches conducted outside

 the judicial process, without prior approval by [a] judge or [a] magistrate [judge], are

 per se unreasonable . . . subject only to a few specifically established and well-

 delineated exceptions.” Arizona v. Grant, 556 U.S. 332, 338 (2009) (quoting Katz v.



 18       Any analysis of whether Government conduct violates the Fourth Amendment must first
 determine that the conduct at issue is a search or seizure, and thus within the bounds of Fourth
 Amendment protections. It is only after determining that conduct constitutes a search or seizure that
 the next question is considered: is the search or seizure reasonable? See, e.g., Terry v. Ohio, 392 U.S.
 1, 26, 27-28 (1968) (first finding an officer’s “brief, though far from inconsiderable intrusion” in patting
 down two men to be a search, and then finding the officer’s search to be reasonable where he
 reasonably feared for his safety); Torres v. Madrid, 592 U.S. 306, 309, 325 (2012) (finding officers’
 application of force to the defendant’s body with the intent to restrain to constitute a seizure;
 remanding the question of whether the seizure was unreasonable in violation of the Fourth
 Amendment).

        As Commissioner Keliher explicitly conceded in a footnote that the electronic tracking
 requirements in the MDMR Rule in fact constitutes a search, the Court proceeds as the parties do, and
 begins with the analysis of whether the search is reasonable. See Mot. to Dismiss at 12 n.16.
 Commissioner Keliher confirmed this concession at oral argument.

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 United States, 389 U.S. 347, 357 (1967)). This rule “applies to commercial premises

 as well as to homes.” Marshall v. Barlow’s, Inc., 436 U.S. 307, 312 (1978).

       The Supreme Court has also held that “[s]earch regimes where no warrant is

 ever required may be reasonable where ‘special needs . . . make the warrant and

 probable-cause requirement impracticable,’” Patel, 576 U.S. at 420 (citing Skinner v.

 Ry. Labor Execs.’ Ass’n, 489 U.S. 602, 619 (1989)) (quoting Griffin v. Wisconsin, 483

 U.S. 868, 873 (1987)), and “where the ‘primary purpose’ of the searches is

 ‘[d]istinguishable from the general interest in crime control.’” Id. (citing Indianapolis

 v. Edmond, 531 U.S. 32, 44 (2000)). The Supreme Court treats this kind of search as

 an “administrative search.” See id.; Camara v. Municipal Court of City and Cnty. of

 San Francisco, 387 U.S. 523, 534 (1967). “Absent consent, exigent circumstances, or

 the like, in order for an administrative search to be constitutional, the subject of the

 search must be afforded an opportunity to obtain precompliance review before a

 neutral decisionmaker.” Patel, 576 U.S. at 420.

       Here, the MDMR Rule’s electronic tracking device requirement serves a

 “special need” other than conducting criminal investigations, see Patel, 576 U.S. at

 420, and the parties accordingly agree it is an administrative search. Mot. to Dismiss

 at 11 (“the [MDMR] Rule unquestionably meets the requirements for a lawful

 ‘administrative search’”); Compl. ¶ 85 (arguing that “neither the ASMC nor MDMR

 have articulated the limited scope, relevant purpose, and specificity required to

 otherwise obtain this satellite tracking data through a constitutional administrative

 search”).   The parties also seem to agree that the lobster fishery is a “closely



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 regulated” industry. 19 See Mot. to Dismiss at 13-15; Pls.’ Opp’n. at 5-6. The Court

 thus proceeds to analyze the MDMR Rule from this premise.

        The Supreme Court has adopted a “more relaxed standard” for “closely

 regulated” industries.        Patel, 576 U.S. at 424.           The Supreme Court held that

 administrative searches of closely regulated industries do not violate the Fourth

 Amendment so long as (1) there is a substantial government interest behind the

 regulatory scheme pursuant to which the search is made; (2) the search is necessary

 to furthering that interest; and (3) the regulatory scheme “perform[s] the two basic

 functions of a warrant: it must advise the owner of the commercial premises that the

 search is being made pursuant to the law and has a properly defined scope, and it

 must limit the discretion of the inspecting officers.” Id. (citing Burger, 482 U.S. at

 702-03).




 19     In their response in opposition to the motion to dismiss, Plaintiffs say:

        At bottom, MDMR argues that, under . . . Patel … and New York v. Burger . . . , its
        Rule is a valid administrative search of a closely regulated industry because the Rule
        is necessary to further a substantial government interest and is sufficiently limited in
        scope. . . . Contrary to MDMR’s argument, however, viewing the Rule in full context
        reveals it as both unnecessary to achieve its overarching purpose and as having a scope
        greatly exceeding that permitted for a constitutional administrative search.”

 Pls.’ Opp’n at 5-6. Plaintiffs then proceed to analyze the MDMR Rule under the Burger test. Id. at 5-
 11.

         The Court reads Plaintiffs’ assertion as rejecting Commissioner Keliher’s conclusion that the
 MDMR Rule’s electronic tracking device requirement is a lawful administrative search; however,
 Plaintiffs do not reject Commissioner Keliher’s conclusion that the MDMR Rule should be analyzed
 pursuant to the Fourth Amendment test for “closely regulated” industries. The Court reads Plaintiffs’
 analysis of the MDMR Rule pursuant to the Burger test as further indication that Plaintiffs concede
 the MDMR Rule should be analyzed as a closely regulated industry. The Plaintiffs confirmed their
 understanding of the lobster fishery as a “closely regulated” industry at oral argument.


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        The Court now proceeds to analyze the MDMR using the Burger test. See id.;

 Burger, 482 U.S. at 702-03.

                      a.     Substantial Government Interest

        The Plaintiffs do not dispute Commissioner Keliher’s assertion that MDMR

 has a substantial interest in regulating the lobster fishery and ensuring its long-term

 viability. Pls.’ Opp’n at 6-7. They say, “MDMR argues that its interest in ‘regulating

 the lobster fishery and ensuring its long-term viability’ supports the scope of the Rule

 . . . . While there is no dispute that this interest is substantial—the long-term health

 of the fishery is essential to the livelihoods of Maine’s lobster fleet—the real issue is

 whether the Rule as applied is indeed necessary to protect the long-term health of

 the fishery.” Id. at 7.

        The Court proceeds to the second prong of the Burger test.

                      b.     Necessary to Further a Substantial Government
                             Interest

        As noted, the Plaintiffs disagree with Commissioner Keliher that the MDMR

 Rule is necessary to furthering a substantial government interest. Id. Plaintiffs say

 that “the lobster fishery currently is not in danger of being overfished,” and thus that

 the “future threats” MDMR warns of are “inherently vague.” Id. Beyond the “alleged

 dangers to the North Atlantic right whale population,” which Plaintiffs say Congress

 has already addressed through the Consolidated Appropriations Act, id. at 8, “MDMR

 has made no effort to identify these ‘future harms,’ let alone articulate how its

 existing data collection efforts . . . are insufficient to address these ‘threats.’” Id. at 7

 (citing Compl. ¶ 55).

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       In determining the Rule’s necessity, it is helpful to return to the text of the

 MDMR Rule and the Addendum on which it is based. As Plaintiffs explain in their

 complaint, once the ASMFC drafts an FMP containing regulations and enforcement

 guidelines, it specifies the requirements for state compliance. Compl. ¶ 6. The states

 then draft their own rules to meet these requirements; in Maine, the rules are drafted

 by the MDMR. Id. If a member state fails to implement an essential element of an

 ASMFC plan for a particular fishery, the Secretary of Commerce has the authority to

 declare a moratorium on that fishery in that state’s waters. Keliher Decl. ¶ 6; Compl.

 ¶ 6 (citing 16 U.S.C. § 5106).

       While the MDMR Rule does not include a statement of the problem the rule

 sets out to address, the Addendum does. See Addendum XXIX at 1-5. Because the

 MDMR Rule is legally required to be consistent with the Addendum, the Court looks

 to the text of the Addendum to determine whether the MDMR Rule is necessary to

 further the substantial government interest articulated in the Addendum. The

 Addendum begins with Section 2.1 (Statement of the Problem) which discusses the

 four problems the FMP seeks to address. Addendum XXIX at 1-2. Section 2.1 begins:

       To date, the majority of spatial analyses of lobster . . . fishery data have
       been constrained to NOAA statistical areas and state management
       areas, hindering the ability to quantify effort in specific regions or
       identify important transmit routes and fishing grounds. The application
       of electronic vessel tracking to this fishery could significantly improve
       the information available to fishery managers and stock assessment
       scientists.

 Id. Section 2.1 goes on to identify “a number of challenges the fishery is currently

 facing [that] pose a critical need for electronic tracking data in the offshore fishery”:



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    1. The stock assessment is currently limited by the coarse spatial scale of
       available harvest data for American lobster. NOAA Fisheries statistical
       areas and latitude/longitude coordinates are collected on the NOAA
       Fisheries Greater Atlantic Regional Fisheries Office (GARFO) Vessel
       Trip Report (VTR)[;] however, the collected spatial data represent the
       location of where the majority of the fishing effort occurred. The nature
       of the coarse spatial data is insufficient for management and scientific
       purposes. Though harvester reporting at the 10-minute square level
       was adopted for federally-permitted lobster vessels reporting to the
       states and the federal VTR continued to collect latitude and longitude
       data for each trip, the precision of spatial information is not consistent
       across federal permit holders. This finer scale does not provide the
       precision to accurately apportion effort within the stock units.

    2. Due to interactions between protected marine resources and the lobster
       … fisher[y], the fisher[y] will be required to implement significant risk
       reduction efforts under the . . . Take Reduction Plan. These risk
       reduction efforts are based on models that estimate the location of
       vertical buoy lines using effort data of a similarly coarse resolution.

    3. Recent executive orders have prioritized the development of offshore
       renewable energy and the conservation of US waters. The development
       of emerging ocean uses such as wind energy, aquaculture, and marine
       protected areas may all create marine spatial planning challenges for
       the lobster … fisher[y].

    4. The large geographic footprint and low density of lobster gear in the
       offshore federal management area makes it difficult to locate gear for
       compliance checks, reducing the efficiency and efficacy of offshore
       enforcement efforts.

 Id. at 2. “Each of these issues,” Section 2.1 continues, “pose an acute need for high-

 resolution data on where and when fishery effort in the federal fleet occurs.

 Electronic tracking requirements in the federal fishery would fill this information gap

 and support fishery managers in addressing the aforementioned challenges.” Id.

       Regarding the issue of stock assessment, enumerated at § 2.1(1), the

 Addendum proceeds to explain that “[a] complicating factor in the management of

 lobster is that the boundaries of the [Lobster Conservation Management Areas] do

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 not align with the biological boundaries of the stocks ([Gulf of Maine/Georges Bank

 v. Southern New England]).” Id. at 3. This is particularly problematic in LCMAS 2

 and 3 which span both stocks, the Addendum continues. Id. “To date,” the Addendum

 says, “the stock assessment has only been able to analyze stock composition data at

 the spatial resolution of the NOAA statistical area.” Id. This is because not all lobster

 permit holders report at a more granular level than the NOAA statistical area; for

 each trip, some provide a single latitude and longitude point meant to represent

 where the majority of fishing occurred, some provide 10-minute squares fished, and

 others provide only the statistical area fished. Id. The Addendum explains,

       This creates challenges for the assessment because some parameters in
       the stock assessment model vary at a finer spatial scale than statistical
       area . . . . Improved spatial resolution of total harvest data from vessel
       tracking will improve size composition data used in the stock
       assessment models to improve the accuracy of exploitation and reference
       abundance estimates.

 Id. at 3-4.

       As to § 2.1(2), the Addendum says that one of its aims is to comply with the

 goals of the Marine Mammal Protection Act, the Endangered Species Act, and the

 Take Reduction Plan. Id. at 4. The Take Reduction Plan, which sets out to reduce

 the risks to endangered North Atlantic right whales and other large whales

 associated with the presence of fishing gear in waters where these animals occur,

 includes a significant reduction in the number of vertical buoy lines in the fishery in

 order to reduce right whale encounters with such buoy lines, weak-link rope

 requirements to reduce mortalities and serious injuries when entanglements do

 occur, and changes to seasonal restricted areas closed to pot/trap gear that use

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 stationary vertical buoy lines. Id. These risk reduction approaches in the Take

 Reduction Plan, the Addendum explains, “are informed by the co-occurrence model,

 which pairs information regarding the distribution of whales and commercial fishing

 gear to predict areas where whales may be prone to entanglement.”                     Id.   The

 Addendum asserts that “[e]lectronic vessel tracking data would significantly improve

 the models used to assess the location of vertical lines in the fishery and their

 associated risk to right whales in the [Take Reduction Plan].” Id. The Addendum

 describes the need as “critical” to “gather and provide updated and enhanced spatial

 effort data to improve the associated risk reduction models” ahead of the timeline

 mandated by the May 2021 Biological Opinion’s Conservation Framework. 20 Id.

        On § 2.1(3), the Addendum says that “[i]t is critically important to record the

 footprint of the U.S. lobster fishery as spatial allocation discussions occur as a result

 of emerging ocean uses such as aquaculture, marine protected areas, and offshore

 energy development.” Id. The Addendum gives the example of the New England

 Fishery Management Council’s (NEFMC) Omnibus Deep-Sea Coral Amendment,

 which looked to provide protection to corals in the northwest Atlantic Ocean through

 the creation of discrete regions and/or broad depth zones. Id. When NEFMC “took

 action” on the amendment in 2016, it asked the Commission to provide information

 on the magnitude of lobster catch in specific regions in order to understand potential

 economic impacts.      Id.   At the time, the Addendum explains, the lobster FMPs


 20      The Addendum cites the Biological Opinion issued on May 27, 2021, which “outlines a
 Conservation Framework that intends to reduce morality and serious injury to North Atlantic Right
 Whales by 95% over ten years. Within this Framework, additional risk reductions could be required
 in the US lobster fishery starting in 2025.” Addendum XXIX at 4.

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 required harvesters to report landings via NOAA statistical areas, regions much

 larger than those being considered for coral protection. Id. at 4-5. The spatial

 resolution of catch and effort data for the lobster fishery “proved too coarse; without

 fine scale spatial information, impacts to the lobster . . . fisher[y] had to be estimated

 by piecing together information from harvester reports, industry surveys, and

 fishermen interviews.” Id. at 5. The Addendum says that similar challenges occurred

 when the Northeast Canyons and Seamounts Marine National Monument was

 established in 2016, and that “it is expected that these challenges will continue given

 increased activity surrounding offshore wind, aquaculture, and oil and gas

 exploration.” Id. The Addendum adds that “documentation of the US lobster fishery

 footprint” is also essential for compliance with recent executive action taken towards

 addressing climate change. Id.

       On § 2.1(4), the Addendum says that a “potential benefit” of collecting

 electronic vessel tracking data is the ability to improve enforcement in the offshore

 area, as “[i]t has long been recognized that enforcement efforts in the offshore federal

 lobster fishery need to be improved.” Id. The Addendum says that enforcement

 personnel have consistently noted that having the ability to differentiate when a boat

 is steaming versus hauling is critical to efforts to inspect gear and identify when

 lobstermen are using illegal gear. Id. Once a fishing location can be identified using

 vessel tracking data, the Addendum says, enforcement personnel would be able to go

 to that location to inspect gear for appropriate markings, buoys, escape vents, and

 ghost panels. Id. “Given finite enforcement resources, information on distinct fishing



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 locations would improve the efficiency and capability of offshore enforcement efforts.”

 Id.

       The Addendum continues to state that “[f]ederal lobster . . . vessels issued

 commercial trap gear permits are required to install an approved electronic tracking

 device to collect and transmit spatial data in order to participate in the trap gear

 fishery.” Id. It continues to say that the installation and activation of an approved

 device must happen prior to beginning a lobster trip with trap gear, and the device

 must then remain on board the vessel and powered at all times when the vessel is in

 the water, “unless the device is authorized to power down by the principal port state.”

 Id. at 5-6. The Addendum then proceeds to discuss exceptions, which the Court

 addresses below.

       In Burger, the Supreme Court explained that warrantless inspections are

 permitted only as “necessary to further [the] regulatory scheme.” Burger, 482 U.S.

 at 702 (quoting Donovan v. Dewey, 452 U.S. 594, 600 (1980)). In Dewey, the Court

 deemed warrantless inspections “necessary to further [the] regulatory scheme” when

 it found that forcing mine inspectors to obtain a warrant before every inspection

 might alert mine owners or operators to impending inspection, thus frustrating the

 Mine Safety and Health Act’s purposes of detecting and deterring safety and health

 violations. Dewey, 452 U.S. at 603. And in Burger itself, the Court found the second

 prong satisfied upon concluding that “regulation of the vehicle-dismantling industry

 reasonably serves the State’s substantial interest in eradicating automobile theft.”

 Burger, 482 U.S. at 709.



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       The Burger Court applied a standard akin to rational basis review to analyze

 this second prong, saying that, because it is well established that vehicle theft can be

 effectively addressed by controlling the receiver of, or market in, stolen property, “the

 State rationally may believe that it will reduce car theft by regulations that prevent

 automobile junkyards from becoming markets for stolen vehicles and that help trace

 the origin and detention of vehicle parts.” Id. The First Circuit took a similar

 approach in Rivera-Corraliza v. Puig-Morales, 794 F.3d 208, 220 (1st Cir. 2015),

 finding the second prong of the Burger test satisfied when “Plaintiffs . . . do not say

 how reasonable officials . . . would have reasonably thought that warrantless

 inspections do not advance the just-described state interest.” The Rivera-Corraliza

 Court concluded that the second prong was satisfied by “administrative searches that

 advance this [substantial government] interest.” Id. at 216-17.

       Applying these precedents to the present case, the Court concludes that the

 electronic tracker requirement articulated in the MDMR Rule and the Addendum on

 which it is based are “necessary” to advance the long-term health and stability of the

 Maine lobster fishery. It agrees with Commissioner Keliher that the Addendum

 clearly outlines four reasons why it, and the MDMR Rule which adopts it, are

 necessary means to protect its substantial interest in the lobster fishery. Mot. to

 Dismiss at 4-5. The ALMB wrote and implemented the Addendum to address four

 “challenges the fishery is currently facing [that] pose a critical need for electronic

 tracking data.” Addendum XXIX § 2.1. First, the ALMB explained that currently

 available data is insufficiently detailed for management and scientific purposes,



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 including stock assessments. Id. §§ 2.1, 2.2.2. Second, the ALMB noted that the

 current data’s limitations make it difficult to contribute valuable information about

 commercial lobster fishing to the NMFS’s whale reduction efforts pursuant to the

 Take Reduction Plan. Id. §§ 2.1, 2.2.3. Third, the ALMB explained that better data

 will improve assessment of the potential effects on the lobster fishery of competing

 uses, including aquaculture, creation of new marine protected areas, offshore wind

 energy development, and offshore oil and gas exploration. Id. §§ 2.1, 2.2.4. The

 ALMB noted that the lack of sufficiently detailed fishery activity data currently

 hinders analysis of the potential effects of proposed projects on the lobster fishery.

 Id. Fourth, the Addendum says that better fishery activity data will improve the

 efficiency and effectiveness of limited enforcement resources in federal waters, with

 their “large geographic footprint and low density of lobster gear,” thus conserving the

 lobster resource and ensuring the ongoing viability of the commercial fishery. Mot.

 to Dismiss at 5 (quoting Addendum XXIX § § 2.1, 2.2.5).

       Plaintiffs have failed to plead plausible facts sufficient for the Court to

 conclude the MDMR Rule is unnecessary to respond to these regulatory needs as

 Supreme Court and First Circuit precedent requires.

       The Court is not persuaded this bar is met by Plaintiffs’ argument that the

 “future threats” the MDMR Rule seeks to address are “inherently vague” and that

 the MDMR “has made no effort to identify . . . , let alone articulate how its existing

 data collection efforts . . . are insufficient to address these ‘threats’.” See Pls.’ Opp’n




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 at 7. The Addendum, with which the MDMR Rule is legally required to comply,

 addresses each of these concerns in detail, as discussed above. See Addendum XXIX.

       Having found the second prong of the Burger test satisfied, the Court continues

 to prong three.

                     c.     Functions as Warrant

       The third prong of the Burger test for an administrative search of a closely

 regulated industry is that the challenged regulation must “perform the two basic

 functions of a warrant: it must advise the owner of the commercial premises that the

 search is being made pursuant to the law and has a properly defined scope, and it

 must limit the discretion of the inspecting officers.” Burger, 482 U.S. at 702-03;

 Rivera-Corraliza, 794 F.3d at 216-17. To satisfy this first function, the Burger Court

 explained that “the statute must be ‘sufficiently comprehensive and defined that the

 owner of commercial property cannot help but be aware that his property will be

 subject to periodic inspections undertaken for specific purposes.’” Burger, 482 U.S.

 at 703 (quoting Dewey, 452 U.S. at 600). As to the second function, “in defining how

 a statute limits the discretion of the inspectors . . . it must be ‘carefully limited in

 time, place, and scope.’” Id. (citing United States v. Biswell, 406 U.S. 311, 315 (1987)).

       Both the Plaintiffs and the Defendant treat these two functions together in

 their respective motion and responsive filings; thus, the Court follows their approach.

 The Plaintiffs on this point essentially argue that the MDMR Rule fails because it is

 not sufficiently limited. Pls.’ Opp’n at 7. Plaintiffs question why the Government

 could not have limited tracking to vessels fishing for lobster in federal waters or



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 adopted “the lesser ‘ping rates’ employed by trackers in other industries like the

 scallop fishery.” Id. at 8. The MDMR Rule, they say, “requires constant surveillance

 of vessels while they are fishing for other species, or even when they are not fishing

 at all”; the “indefinite . . . duration of the search” shows that the MDMR Rule “does

 not serve the same functions as a warrant.” Id. at 8-9 (capitalization altered).

        Commissioner Keliher, in contrast, avers that the MDMR Rule “clearly puts

 covered lobstermen on notice that data regarding the location of their fishing vessels

 is being collected per the Rule’s terms.” Mot. to Dismiss at 16-17 (citing Tart, 949

 F.2d at 498 (finding adequate notice where the regulation informed commercial

 fishermen “that routine documentation checks might occur at any time, particularly

 when fishing in Commonwealth coastal waters or landing raw fish at Commonwealth

 ports”).

        Commissioner Keliher also argues that the MDMR Rule functions as a warrant

 because it “properly limits government discretion.” Id. at 17. He argues that the

 MDMR Rule is limited, first, because it “track[s] only location data of licensed

 commercial fishing vessels.” Id. Although he acknowledges that the MDMR Rule

 requires vessel location data to be collected whenever a vessel is in operation, he

 argues that the rule still complies with Burger because its collection of location data

 is “minimally intrusive in the context of the ‘entire regulatory scheme applicable to

 the commercial fishing industry,’” id. at 19 (citing Tart, 949 F.2d at 499), and is

 particularly “less intrusive than the suspicionless boarding and search of a vessel,

 which is already authorized under state and federal law.” Id. (citing 16 U.S.C. §§



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 5101-5108; 50 C.F.R. Part 697; 46 C.F.R. ch. 1; 12-619 M.R.S.; 13-188 C.M.R. ch. 25;

 12 M.R.S. § 6306(1)). In addition, he says, timing restrictions on the MDMR Rule’s

 electronic data collection would not be feasible because “commercial lobstering does

 not follow regular business hours” and timing restrictions would thus “seriously

 undermine the reliability and administrability of the entire data collection program.”

 Id. (citing Ponce-Aldona, 579 F.3d at 1226).

        Commissioner Keliher also avers that the MDMR Rule functions as a warrant

 because it takes steps to limit the collection of data. See id. at 6-7. First, the Particle

 TrackerOne collects the position of the vessel once per minute while the vessel is

 moving, but only once every six hours when the vessel is moored or docked. Id. at 6

 (citing Vessel Tracking Requirements at 1). Second, although the MDMR Rule makes

 it generally unlawful for license holders to fish for lobster without an installed and

 operating tracking device on their vessel, the Rule enumerates specific exceptions. 21

 Id. at 6-7 (citing MDMR Rule § (C)).

        In response to Plaintiffs’ argument that the MDMR Rule does not take

 sufficient care to protect the location data it collects, Commissioner Keliher explains

 that vessel location data is transmitted to the ACCSP which “has protected

 confidential information relating to fisheries—including self-reported Vessel Trip

 Report data—for years using the same electronic transmittal systems (approved by


 21      As discussed above, Mr. Keliher notes that the MDMR Rule Section (C) enumerates the
 following exceptions: (1) the license holder is not required to keep the tracker externally powered
 (plugged in) when the vessel is moored or docked; (2) the device may be inoperative when the vessel is
 removed from coastal waters for an extended period of time; (3) the device may be inoperative for the
 purpose of being repaired or replaced; and (4) if the device fails and becomes inoperable, the license
 holder may continue fishing with approval from MDMR while the situation is addressed. Mot. to
 Dismiss at 6-7 (citing MDMR Rule § (C)).

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 NMFS) and SAFIS database, as described in Addendum XXIX.” Id. at 7 (citing

 Addendum XXIX § 3.2.3). Further, he says, “the vessel location data is ‘designated

 as confidential through Maine law and regulation,’” id. (quoting Vessel Tracking

 Requirements at 2); “Maine law requires that fisheries data be kept confidential and

 not be disclosed in a manner that permits identification of any person or vessel.” Id.

 (citing 12 M.R.S. § 6173). Commissioner Keliher avers that MDMR’s own regulations

 also “require that publicly released data do not identify individual vessels or license

 holders.” Id. (citing 13-188 C.M.R. ch. 5).

       The Court is persuaded by Commissioner Keliher and the ASMFC’s arguments

 and finds the MDMR Rule complies with the third prong of the Burger test. First,

 the Court concurs with Commissioner Keliher that MDMR Rule “clearly puts covered

 lobstermen on notice that data regarding the location of their fishing vessels is being

 collected per the Rule’s terms.” Mot. to Dismiss at 16-17. When the MDMR sent

 Particle TrackerOne devices to federally licensed lobstermen, it included in these

 mailings a document entitled Federal Permit Holder Vessel Tracking Requirements,

 which Plaintiffs attached to their complaint, that clearly inform licensees of what the

 Addendum requires and that these requirements apply to them because of their

 license. See Fed. Permit Holder Vessel Tracking Requirements. The mailing includes

 information on the kind of data the tracker will collect, who will pay for the tracking

 device and the data program (the latter, for the first three years), why ASMFC

 established the tracker requirement, whether the collected data will be kept

 confidential, and whether tracking is mandatory. See id. at 1-2. The mailing also



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 includes a link to a form for lobstermen who believe the MDMR Rule should not apply

 to them because their vessel is powered down, instructions on how the tracker can be

 connected and installed, and ways to tell if the tracker is operating correctly. See id.

 at 1-5. The mailing also contains a phone number and email address that lobstermen

 may use to contact the MDMR for troubleshooting or additional support. Id. at 5.

 Finally, the document provides a link to the full text of the Addendum. Id. at 5. Thus,

 the Court concludes that covered lobstermen were sufficiently on notice of the MDMR

 Rule.

         The Court also agrees with Commissioner Keliher and the ASMFC that the

 MDMR Rule has “a properly defined scope” and “limit[s] the discretion of the

 inspecting officers.” Burger, 482 U.S. at 702-03. As discussed above, the MDMR Rule

 complies with Maine’s existing requirements for data collection which are designed

 to protect individual information, see Fed. Permit Holder Vessel Tracking

 Requirements at 2; Addendum XXIX § 3.2.3; 12 M.R.S. § 6173; 13-188 C.M.R. ch. 5;

 the rule includes exemptions for individuals not subject to its provisions, MDMR Rule

 § (C); and it only collects data on “the time and position” of fishing vessels, Fed. Permit

 Holder Vessel Tracking Requirements at 1, not “audio information” or a “predictive

 algorithm that can anticipate vessel movements” as Plaintiffs feared. See Compl. ¶

 77.

                     d.     Other Privacy Concerns

         The lobstermen have legitimate privacy concerns about the degree of

 governmental intrusion from the MDMR Rule. Lobstermen are not always fishing on



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 their boats. They have their own lives. Even though they use their boats to fish for

 lobsters, they also use these vessels to perform personal errands, to visit family and

 friends, and even in some cases to live on. In the ordinary case, the government,

 whether state or federal, would not have the right to track a citizen’s location and to

 force a citizen to wear an electronic monitoring device or to attach one to a company

 car. The degree of state intrusion would be inimical to the restraint on government

 guaranteed by the Fourth Amendment but for the Burger exception for

 administrative searches of a closely regulated industry.

       Despite this significant state intrusion, the state correctly rejoins that it has

 the legal authority to enter onto a lobster boat without a search warrant to inspect

 the boat for compliance with the numerous regulations that constrain lobster fishing.

 However, a MDMR search of a particular lobster boat must be limited to one boat at

 a single time. Here, the MDMR Rule contemplates a constant search of each licensed

 lobster boat in the entire lobstering fleet. The data collection under the MDMR Rule

 is vastly different in kind and intensity to past MDMR practice.

       The lobstermen’s concern is not limited to data collection. It extends to the use

 of the data and who will have access to it. The Commissioner revealed at oral

 argument that the data would be available for others within federal and state

 government. The state could share this data with other governmental agencies,

 whose concerns are distinct from lobstering and could involve such areas as

 protections of the right whale and the siting of wind power facilities.




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       Moreover, although the Commissioner properly observed that Maine’s privacy

 and confidentiality laws apply to the collected data, the data, including personal

 location data, remain vulnerable to potential revelation through the legal process.

 For example, if the location of a lobsterman’s boat at a particular time became

 relevant to a criminal investigation or a civil action, such as a divorce or commercial

 dispute, the seeker of the information, such as a law enforcement agency or civil

 adversary, could make a case for its disclosure. Thus, unlike virtually any other

 businessperson, data exist for Maine lobstermen that can confirm his or her precise

 location at a particular time, which may be discoverable and held against the personal

 interests of the lobsterman.

       In addition, although the state promises to place the collected data in secure

 information vaults so that lobstermen’s personal information will not be available to

 the general public, it is apparent, given the magnitude of the hacking of data in other

 scenarios, including government-held data, that there can be no guarantee the

 collected information will be absolutely secure.

       Lastly, the lobstermen fear that after three years, when state funding for the

 monitoring program runs dry, the state will not only cease its funding but will foist

 the cost of the monitoring onto the lobstermen themselves, essentially mandating the

 lobstermen pay the state to invade their privacy. The Commissioner acknowledged

 at oral argument that it could be that the state will look to the lobstermen to pay for

 monitoring, but the Commissioner sees this program in a fundamentally different

 way than the fishermen do. The Commissioner sees the program as assuring the



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 long-term viability of the lobster as a resource, whereas the lobstermen see the

 program as an unwarranted governmental restriction on their way of life.

                     e.     The Lobstermen’s Privacy Concerns and                    the
                            Government’s Necessity for the Information

       As noted earlier, in Burger, the Supreme Court explained that warrantless

 inspections are permitted only as “necessary to further [the] regulatory scheme.”

 Burger, 482 U.S. at 702. From the Court’s perspective, the closer the data are to

 lobstering, the clearer the state justification for its collection, and conversely, the

 further the data are from lobstering, the more attenuated the necessity “to further

 [the] regulatory scheme.” Id. Conceding that the MDMR Rule would fit comfortably

 within Burger for the collection of information on actual lobstering, the justification

 for collecting data about where lobster boats are when they are not lobstering in

 federal water is more difficult to square with the Burger Court’s requirement of

 necessity.

       What trips the MDMR Rule from unconstitutional to constitutional is that the

 MDMR has represented that the collection of data from lobster boats cannot be

 effective without collecting both personal and lobstering data. For example, the

 Commissioner stated at oral argument that the MDMR considered a system whereby

 a lobsterman could turn on the system when fishing and turn it off when not fishing.

 But because it is essential that the data be accurate, the fact that lobstermen could

 forget to turn on the device would skew the results. Similarly, there is no indication

 in this record that the system could be altered so that it begins to collect data once a




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 lobster boat crosses the three-mile limit into federal waters and then stops collection

 when the vessel re-enters state waters.

       In addition, the Plaintiffs have failed to allege that there are other available

 systems of data collection that would protect their personal privacy and satisfy the

 government’s legitimate interest in the collection of accurate lobstering data. At oral

 argument, the Plaintiffs asserted the Vessel Trip Reports lobstermen currently self-

 report are sufficient to provide the government with data on the lobster fishery while

 also intruding less into lobstermen’s individual privacy.           The Government

 strenuously objects that the current data collection system captures sufficient data

 to meet the evolving needs of the lobster fishery. For the reasons discussed elsewhere

 in this order, the Court accepts the Government’s statement and additionally

 concludes that the Plaintiffs have not argued there is another available system of

 data collection would protect lobstermen’s privacy while satisfying the Government’s

 interest.

       Thus, the Court cannot conclude that the MDMR Rule is gratuitously invasive

 of lobstermen’s personal privacy. The Court must instead conclude that the MDMR’s

 data collection system cannot be designed without the overaccumulation of both

 relevant and irrelevant data. Furthermore, the Commissioner has represented that

 the current level of data accumulation is scientifically inadequate to the task of

 lobster preservation. As the lobstermen work in a closely regulated industry, the

 Court concludes that given the choice between the overaccumulation of data and the




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 accumulation of inadequate data, the law favors preservation of the resource over the

 lobstermen’s rights of privacy.

       The Court understands Plaintiffs’ frustration with this additional requirement

 of licensure. However, the First Circuit has explained that “‘when an entrepreneur

 embarks upon such a business [in a closely regulated industry], he has voluntarily

 chosen to subject himself to a full arsenal of government regulation,’ and thus a

 warrantless search to enforce that regulatory regime is not unreasonable.” Rivera-

 Corraliza, 794 F.3d at 216 (quoting Marshall v. Barlow’s, Inc., 436 U.S. 307, 313

 (1978)). Commissioner Keliher points to the numerous regulatory regimes governing

 the federal lobster fishery, including mandates on licensure, trap limits and tags,

 limits on the size of lobsters that may be taken, requirements that certain lobsters be

 notched and thrown back, and requirements that licensees submit to inspection. Mot.

 to Dismiss at 14-15. (citing 16 U.S.C. §§ 5101-5108; 50 C.F.R. Part 697; 46 C.F.R. ch.

 1; 12-619 M.R.S.; 13-188 C.M.R. ch. 25; 12 M.R.S. § 6306(1)). 12 M.R.S. § 6306(1)

 specifically provides that any person who “receives a [marine resource] license . . .

 has a duty to submit to inspection and search for violations related to the licensed

 activities by a marine patrol officer” and that “[w]atercraft or vehicles . . . used

 primarily in a trade or business requiring a license . . . maybe searched or inspected

 at any time.” Mot. to Dismiss at 14-15. In addition, Commissioner Keliher rightly

 reminds the Court that all people operating vessels at sea, independently of whether

 or not they are engaging in a commercial enterprise, “are subject to a network of

 regulations that allow officials to board and inspect vessel.” Id. at 15. “A vessel at



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 sea, unlike a personal vehicle on a highway or a pedestrian on a public street, can be

 stopped for document checks and safety inspections at any time even without

 reasonable suspicion.” Id. (citing Villamonte-Marquez, 462 U.S. at 92-93; United

 States v. Green, 671 F.2d at 53; Giles, 669 A.2d at 193). These observations are

 instructive and accurate.

        Consistent with this Supreme Court and First Circuit jurisprudence, the Court

 accordingly concludes that Plaintiffs in Count One have not pleaded “sufficient

 factual matter, accepted as true, to ‘state a claim to relief that is plausible on its fact.’”

 Iqbal, 556 U.S. at 678. The Court believes this is an issue that should be presented

 to the First Circuit on review.

                2.      Count Two: Equal Protection

        The crux of Plaintiffs’ argument in their second count is that the MDMR Rule

 is void for vagueness “in that it is designed to enforce criminal and regulatory offenses

 without defining the contours of offenses with sufficient definiteness such that

 ordinary people can understand what conduct is prohibited and in a manner that does

 not encourage arbitrary and discriminatory enforcement.” 22 Compl. ¶ 91. They




 22      Plaintiffs bring Count Two, which they classify as an equal protection violation, pursuant to
 the Fifth and Fourteenth Amendments of the U.S. Constitution and Article I, § 6-A of the Maine
 Constitution. Compl. ¶ 12. Section 6-A of the state constitution contains Maine’s version of the Equal
 Protection Clause of the Fourteenth Amendment of the United States Constitution; the state and
 federal clauses “provide co-extensive protection.” Bailey v. State, 900 F. Supp. 2d 75, 87 n.20 (D. Me.
 2012); Town of Frye Island v. State, 2008 ME 27, ¶ 14, 940 A.2d 1065 (“[T]he two clauses provide co-
 extensive protection”); see MARSHALL TRINKLE, THE MAINE STATE CONSTITUTION: A REFERENCE GUIDE
 at 38-40 (1992).

         Given this precedent, and that Plaintiffs presented no argument distinguishing these clauses,
 the Court analyzes the Plaintiffs’ claims pursuant to the U.S. Constitution and the Maine Constitution
 as identical.

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 assert that the MDMR Rule specifically leaves unanswered the penalties for

 noncompliance, the offenses they might be prosecuted with based on the data

 collected, what penalties maybe imposed for unintentional violations, and whether

 non-compliance could affect their fishing licenses.    Id. ¶¶ 92-93.    Commissioner

 Keliher, in addition to reminding the Court that void for vagueness claims should be

 brought as due process violations rather than equal protection, argues that Plaintiffs’

 claim fails because they do not articulate what terms in the MDMR Rule are so

 unconstitutionally vague that “a person of ordinary intelligence would not have fair

 notice of what conduct the Rule prohibits, or how the Rule is so standardless as to

 encourage seriously discriminatory enforcement.” Mot. to Dismiss at 22, 22 n.23.

 Plaintiffs’ response reasserts that “questions remain about how and to what extent

 MDMR will enforce the [MDMR] Rule.” Pls.’ Opp’n at 11.

       As an initial matter, Commissioner Keliher is correct that void for vagueness

 claims are typically brought pursuant to the due process clause, not equal protection.

 At oral argument, the Plaintiffs explained the basis of their equal protection theory

 is that the MDMR Rule affects one group of lobstermen (those with federal permits)

 differently from another group of lobstermen (those with state permits).

       The Equal Protection Clause of the Fourteenth Amendment “requires states to

 treat alike all persons similarly situated.” Toledo v. Sanchez, 454 F.3d 24, 33 (1st

 Cir. 2006) (citing Plyler v. Doe, 457 U.S. 202, 216 (1982)). “To establish an equal

 protection claim, a plaintiff needs to allege facts showing that ‘(1) the person,

 compared with others similarly situated, was selectively treated; and (2) that such



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 selective treatment was based on impermissible considerations such as race, religion,

 intent to inhibit or punish the exercise of constitutional rights, or malicious or bad

 faith intent to injure a person.” Davis v. Coakley, 802 F.3d 128, 132-33 (1st Cir. 2015)

 (quoting Rubinovitz v. Rogato, 60 F.3d 906, 910 (1st Cir. 1995)).

        The Supreme Court has instructed that a heightened standard of review is

 proper for classifications based on characteristics “beyond the individual’s control and

 bearing no relation to the individual’s ability to participate in and contribute to

 society,” such as gender and illegitimacy. City of Cleburne, Tex. V. Cleburne Living

 Center, 473 U.S. 432, 440-41 (1985).       However, “[u]nless state action burdens a

 suspect class or impinges upon a fundamental right [the First Circuit] review[s] equal

 protection claims for rational relationship between the disparity of treatment and a

 legitimate government purpose.” Toledo, 454 F.3d at 33. In other words, “[i]n order

 to state a claim for discrimination that violates equal protection, [a plaintiff] must

 allege that he was intentionally treated differently from others similarly situated and

 there was no rational basis for the difference in treatment.” Pope v. Bernard, No. 10-

 1443, 2011 U.S. App. LEXIS 2764, at *6 (1st Cir. Feb. 10, 2011) (quoting Toledo at

 34).

        Here, the Plaintiffs’ equal protection claim does not get out of the starting gate.

 The Plaintiffs have not argued, pleaded facts, or cited caselaw finding that federally

 permitted lobstermen are a suspect class or that the MDMR Rule impinges upon a

 fundamental right. Absent a suspect class, which the distinctions between these

 classes of lobstermen certainly are not, there is an obvious rational basis for the



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 MDMR Rule to distinguish between lobstermen who fish close to shore in the waters

 of the state of Maine and those who fish in the territorial waters of the United States.

 The Court does not see an equal protection issue as the Plaintiffs have framed the

 lawsuit.

       Nevertheless, viewing the complaint “in the light most favorable to the

 plaintiff,” Germanowski, 854 F.3d at 71, the Court proceeds to analyze count two as

 a due process void-for-vagueness claim.

       As count two turns on the terms of the MDMR Rule, the Court considers the

 rule attached to the motion to dismiss by Commissioner Keliher, which he introduces

 as authentic and Plaintiffs do not challenge. See Beddall, 137 F.3d at 17. Chapter

 25.98 is titled “Electronic Tracking Requirements for Federally-Permitted Lobster

 and Jonah Crab License Holders.” MDMR Rule at 3. The Rule says that “[e]ffective

 December 15, 2023, the following electronic tracking device requirements apply to all

 federally permitted lobster and crab license holders, as defined in Section A.” Id.

 Section A (Definitions) includes two definitions:

       1. Approved Tracking Device means any electronic device that meets
          all the specifications outlined in Section 3.1 of the [ASMFC]
          Addendum XXIX to the American Lobster Fishery Management Plan
          ….
       2. Federally permitted lobster … license holder means an individual
          who is eligible for a commercial Maine state license or who is licensed
          to fish commercially for lobster … under 12 MRS 6421 or 12 MRS
          6302-A who also holds a federal lobster … commercial trap gear
          permit for any of the Lobster Conservation Management Areas
          (LCMAs) 1, 2, 3, 4, 5, or the Outer Cape Cod on the vessel identified
          on their lobster … fishing license.

 Id.



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        The MDMR Rule proceeds to Section B (Electronic Tracking Device

 Requirements), which states that, “1. [p]rior to their first lobster . . . fishing trip

 following December 15, 2023, federally permitted lobster and crab fishing license

 holders are required to install an approved tracking device.” Id. Section B.2 informs

 federally permitted lobster . . . fishing license holders that they are required to certify

 to the MDMR when they have completed the installation of the approved tracking

 device; it also says that certification must be completed via an electronic form

 available through the MDMR’s publicly accessible website. Id. at 4.

        Section C (Prohibitions) says that the following prohibitions apply “[u]nless a

 federally permitted lobster and crab fishing license holder has made modification to

 the Department as provided in (E).” Id. Section C proceeds to list 5 enumerated

 prohibitions:

        1. It is unlawful for a federally permitted lobster . . . license holder to
           fish for, take, possess, or land lobster or Jonah crab taken with trap
           gear without having an approved tracking device installed aboard
           the permitted vessel listed on their license.

        2. It is unlawful for a federally permitted lobster . . . license holder to
           remove or have removed the approved tracking device from the
           permitted vessel listed on their license without written approval
           from the [MDMR].

        3. It is unlawful for a federally permitted lobster . . . license holder to
           allow the permitted vessel listed on their license to be operated in
           coastal waters of the State without the approved tracking device
           being powered by an external power source at all times; an exception
           to this requirement exists when the vessel is moored or docked at
           berth.

        4. The approved tracking device must remain in an operational
           condition, minimally powered by an internal battery, when a
           permitted vessel is docked, moored, or removed from the water. The

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            license holder shall notify the [MDMR] prior to an approved tracking
            device being rendered inoperative in instances where the permitted
            vessel is removed from the coastal waters for an extended period of
            time or for purposes of repairing or replacing an approved tracking
            device.

        5. It is unlawful for a person to tamper with an approved tracking
           device or device signal; tampering includes any activity that may
           affect the unit’s ability to operate or signal properly or to accurately
           compute or report the vessel’s position. Tampering . . . is not
           considered to occur in circumstances where an approved tracking
           device is being repaired or replaced provided the license holder has
           written approval from the [MDMR].

 Id.

        The MDMR Rule then lists, under Section D (Exceptions), two specific groups

 of federally permitted lobster and crab fishing license holders who are exempt from

 the electronic tracking requirement. 23

        Section E (Device Failure) says that “[i]n the event of an electronic tracking

 device failure, a violation of the prohibition in section (C) shall not exist when the

 federally permitted lobster . . . fishing license holder makes notification of the failure

 to the [MDMR] by phone, text message, or email prior to beginning a fishing trip with

 the inoperable device.” MDMR Rule at 5. Section E further states that the license


 23     Section D exempts:

        1. A federally permitted license holder who holds a federal commercial trap gear
           permit that has been placed in confirmation of permit history (CPH), a permit
           status for when a vessel with limited access permits has sunk, been destroyed, or
           has been sold to another person without its permit history.

        2. A federally permitted license holder who holds a federal lobster commercial trap
           gear permit that does not fish trap gear at any point in the fishing year (i.e., only
           fishes other gear under a federal lobster commercial/non-trap permit,
           charter/party non-trap permit, and/or does not fish any trap gear at any point in
           the fishing year.

 Certified MDMR Rule at 4.

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 holder must work with the MDMR “in good faith and in a timely manner to restore

 device operability as soon as possible.” Id. Section E also indicates that it is unlawful

 for a license holder to begin subsequent fishing trips with an inoperable device

 without written approval from MDMR. Id. In circumstances where a federally

 permitted lobster fishing license holder “has reported frequent or repeated tracking

 device failures aboard a permitted vessel, a Marine Patrol Officer, after having given

 notice to that license holder, may require that license holder to obtain written

 approval from the Department prior to beginning a fishing trip with an inoperable

 tracking device.” Id. The Court notes that Section E directly addresses Plaintiffs’

 questions about how the MDMR Rule treats on “unintentional, as opposed to

 intentional, violations.” Compl. ¶ 93.

       After reviewing the MDMR Rule, the Court concurs with Commissioner

 Keliher’s position that the Plaintiffs do not “identify what terms of the [M]DMR Rule

 are unconstitutionally vague, in what way a person of ordinary intelligence would not

 have fair notice of what conduct the Rule prohibits, or how the Rule is so standardless

 as to encourage seriously discriminatory enforcement.” Mot. to Dismiss at 22.

       On the issue of vague penalties, the Court sides with Commissioner Keliher.

 While Plaintiffs correctly note that the MDMR Rule itself does not list a penalty or

 cross-reference a penalty provision, Commissioner Keliher provides the Court with

 the general statutory provisions governing the penalties for civil violations. First, he

 informs the Court that a violation of the MDMR Rule, like violations of the other rules

 promulgated by the MDMR, is a “civil violation for which a fine of not less than $100



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 for each violation may be adjudged.” Mot. to Dismiss. at 7 n.12 (citing 12 M.R.S. §

 6174(3)).

        He further informs the Court that a civil violation of the M.R.S. “is subject to

 the due process provided through a court adjudication, and the [MDMR] may suspend

 a license after such adjudication,” id. (citing 12 M.R.S. § 6351(1)(D)); 12 M.R.S. §

 6371(3)(A) alternatively provides that the MDMR may administratively suspend a

 license without a prior court adjudication based on the license holder’s commission of

 a marine resource violation, and this administrative suspension is subject to

 procedural requirements and judicial review on appeal. Id. (citing 12 M.R.S. §§

 6371(3)(A), 6374). Commissioner Keliher argues that “[i]t is simply not plausible that

 covered vessel owners,” who operate in a highly regulated industry, “are in the dark

 about the potential consequences of their conduct.” Id. (citing Facteau, 89 F.4th at

 33).

        The Court concludes the MDMR Rule states what conduct is proscribed and,

 further, concludes it is reasonable to believe that federally licensed lobstermen are

 sufficiently on notice that violations of the MDMR Rule will be punished in the same

 way as violations of MDMR’s other regulations, as provided for in the general

 statutory penalty provisions listed by Commissioner Keliher.         The Court thus

 concludes that the MDMR Rule states the “contours of offenses with sufficient

 definiteness such that ordinary people can understand what conduct is prohibited.”

 Compl. ¶ 91.




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       The Court accordingly finds Count Two of Plaintiffs’ Complaint has not

 pleaded “sufficient factual matter, accepted as true, to ‘state a claim to relief that is

 plausible on its face’” to survive a Federal Rule of Civil Procedure 12(b)(6) motion to

 dismiss. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 570 (2007)).

 VI.   CONCLUSION

       The Court GRANTS Defendant Patrick Keliher’s Motion to Dismiss (ECF No.

 23) in its entirety and accordingly DISMISSES as moot Plaintiffs’ Motion for

 Preliminary Injunction (ECF No. 7).

       SO ORDERED.

                                      /s/ John A. Woodcock, Jr.
                                      JOHN A. WOODCOCK, JR.
                                      UNITED STATES DISTRICT JUDGE

 Dated this 21st day of November, 2024




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